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                                                                             7   WENZIAL JARRELL, CHARLES MALOW, KARYN PINSKY, AND HARRY
                                                                                 TASHDJIAN
                                                                             8
                                                                             9                     UNITED STATES DISTRICT COURT
                                                                            10                   CENTRAL DISTRICT OF CALIFORNIA
                                                                            11
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                 LA ALLIANCE FOR HUMAN                 Case No. 2:20-cv-02291
Spertus, Landes & Umhofer, LLP




                                                                            12   RIGHTS, a non-profit corporation,
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                                                                                 JOSEPH BURK, GEORGE FREM,
                                      LOS ANGELES, CA 90025




                                                                            13   WENZIAL JARRELL, CHARLES              SECOND AMENDED AND
                                                                                 MALOW, KARYN PINSKY,                  SUPPLEMENTAL COMPLAINT
                                                                            14   LEANDRO SUAREZ, HARRY                 FOR:
                                                                                 TASHDJIAN, CHARLES VAN
                                                                            15   SCOY, and GARY WHITTER,               (1) Violation of Mandatory Duty
                                                                                 individuals,                             (Cal. Gov’t Code § 815.6; Welf.
                                                                            16                                            & Inst. Code § 17000)
                                                                                                  Plaintiffs,          (2) Violation of Cal. Civ. Code §
                                                                            17                                            3490, et seq.; 3501, et seq.
                                                                                       v.                              (3) Inverse
                                                                            18                                            Condemnation/Violation of
                                                                                 CITY OF LOS ANGELES, a                   Art. I § 19 of California
                                                                            19   municipal entity; COUNTY OF LOS          Constitution
                                                                                 ANGELES, a municipal entity; and      (4) Waste of Public Funds and
                                                                            20   DOES 1 through 200 inclusive,            Resources (Cal. Civ. Proc.
                                                                                                                          Code § 526a)
                                                                            21                    Defendants.          (5) Violation of Due Process and
                                                                                                                          Equal Protection (42 U.S.C. §
                                                                            22                                            1983; U.S. Const. amend.
                                                                                                                          V/XIV)
                                                                            23                                         (6) Violation of Due Process –
                                                                                                                          State Created Danger Doctrine
                                                                            24                                            (42 U.S.C. § 1983; U.S. Const.
                                                                                                                          amend XIV)
                                                                            25                                         (7) Uncompensated Taking (42
                                                                                                                          U.S.C. § 1983; U.S. Const.
                                                                            26                                            amend. V/XIV)
                                                                            27
                                                                            28


                                                                                        SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                             1                                   INTRODUCTION
                                                                             2         1.      Over two years after this case was filed, and after hundreds of
                                                                             3   millions of dollars have poured into Los Angeles through federal and state
                                                                             4   pandemic relief, the devastation on the streets and the impact on both the housed
                                                                             5   and unhoused communities have only gotten worse. LA Alliance for Human
                                                                             6   Rights—of which both housed and unhoused are members—and Plaintiffs named
                                                                             7   herein filed this lawsuit to change the trajectory of the homelessness for the
                                                                             8   benefit of both communities.
                                                                             9         2.      In the face of this lawsuit challenging its handling of the homeless
                                                                            10   crisis, the City has stepped up—it has agreed to provide shelter and housing to
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                                                                            11   thousands of desperate people living on the street on a judicially-enforced,
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                                                                            12   deadline-driven schedule, while at the same time increasing street engagement
                                      LOS ANGELES, CA 90025




                                                                            13   and meeting milestones for encampment reduction across the City. This means
                                                                            14   relief is coming for both those suffering on the streets, as well as businesses and
                                                                            15   residents throughout the City facing the fallout from the crisis: crime, fire,
                                                                            16   disease, blocked sidewalks, and unusable public spaces. But what the City
                                                                            17   cannot do is exactly what the County is statutorily required to do: provide
                                                                            18   services and treatment to unsheltered persons suffering under the crushing weight
                                                                            19   of drug addiction and mental illness. The County is sadly, horrifically failing in
                                                                            20   this responsibility, resulting in thousands of the most vulnerable deteriorating on
                                                                            21   the sidewalks, beaches, and under overpasses. Unless the County steps up as the
                                                                            22   City has and fulfills its obligations to provide services to those experiencing
                                                                            23   homelessness, a comprehensive solution to the homelessness crisis will remain
                                                                            24   unrealized.
                                                                            25         3.      Legal counsel maintains the County is “doing everything possible to
                                                                            26   address homelessness” and that “[a]ny assertion that the county has failed on this
                                                                            27
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                                                                             1   obligation is utterly baseless.”1 Yet County Supervisor Kathryn Barger has
                                                                             2   candidly and commendably admitted: “[W]hat we’re doing in LA County is
                                                                             3   failing. Our rising homeless count numbers prove that. The tents that line our
                                                                             4   streets prove that. Thousands of individuals in distress prove that. We have
                                                                             5   more than a hundred public, community-based, faith-based, and non-profit
                                                                             6   organizations dedicated to providing services to people experiencing
                                                                             7   homelessness, and millions of Measure H dollars in our coffers to fund the work,
                                                                             8   but our region continues to fall short.”2
                                                                             9         4.     Supervisor Barger is right: the mortality rate of people experiencing
                                                                            10   homelessness who die on the streets has leapt to 5.5 per day.3 The last point-in-
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                                                                            11   time count numbers that have been released (2020) showed 66,436 persons
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                                                                            12   experiencing homelessness in Los Angeles County (a rise of 12.7 percent from
                                      LOS ANGELES, CA 90025




                                                                            13   2019), 41,290 of whom live in the City of Los Angeles (16.1 percent increase). 4
                                                                            14   This is in addition to 12 and 14 percent respective increases from the year
                                                                            15   before.5 Using the 2020 PIT numbers, there has been an increase in homelessness
                                                                            16   by approximately 60 percent since 2013 in both City and County, with the
                                                                            17   numbers of unsheltered homeless doubling. 6 And the rates of mortality for the
                                                                            18   unhoused are increasing faster than the numbers of unhoused themselves. Dr.
                                                                            19
                                                                                       1
                                                                                          https://www.latimes.com/homeless-housing/story/2022-04-01/los-
                                                                            20   angeles-homeless-lawsuit-settlement-judge-carter
                                                                                        2
                                                                                          https://kathrynbarger.lacounty.gov/barger-and-stakeholders-respond-to-
                                                                            21   recommendations-from-blue-ribbon-commission-on-homelessness/
                                                                                        3
                                                                                          County of Los Angeles, Public Health, Mortality among People
                                                                            22   Experiencing Homelessness in Los Angeles County: One Year Before and After
                                                                                 the Start of the COVID-19 Pandemic (April 2022),
                                                                            23   http://publichealth.lacounty.gov/chie/reports/Homeless_Mortality_Report_2022.p
                                                                                 df
                                                                            24          4
                                                                                          Los Angeles Homeless Services Authority (“LAHSA”), 2020 Greater
                                                                                 Los Angeles Homeless Count Results (Sept. 3, 2020),
                                                                            25   https://www.lahsa.org/news?article=726-2020-greater-los-angeles-homeless-
                                                                                 count-results.
                                                                            26          5
                                                                                          LAHSA, 2019 Greater Los Angeles Homeless Count – Data Summary
                                                                                 Total Point-In-Time Homeless Population by Geographic Areas (June 16, 2020),
                                                                            27   https://www.lahsa.org/documents?id=3467-2019-greater-los-angeles-homeless-
                                                                                 count-total-point-in-time-homeless-population-by-geographic-areas.pdf.
                                                                            28          6
                                                                                          Los Angeles Almanac, Homelessness in Los Angeles County 2020,
                                                                                 http://www.laalmanac.com/social/so14.php (last visited June 22, 2022).
                                                                                                                          3
                                                                                           SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                             1   Barbara Ferrer, director of DPH admits: “Homeless people are in fact dying at a
                                                                             2   higher rate because they’re homeless.”7
                                                                             3         5.     The streets tell a sad story: the mentally ill and addicted visibly
                                                                             4   suffer in intersections, parks, and sidewalks. Without medical supervision or
                                                                             5   treatment, the most severely affected cannot hold jobs or housing, and are left to
                                                                             6   wander and fend for themselves in a horrific cycle of degradation. And the
                                                                             7   number of those suffering has climbed with the increased prevalence of illegal
                                                                             8   narcotics, which are being used to self-medicate or are the cause of the mental
                                                                             9   decline in the first place. Available drug treatment beds are woefully
                                                                            10   unobtainable while the drug addiction crisis rages, and our communities are
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                                                                            11   ravaged. The County’s silos of care make it nearly impossible for anyone with a
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                                                                            12   comorbidity (that is, suffering from more than one ailment—for example mental
                                      LOS ANGELES, CA 90025




                                                                            13   illness and drug addiction) to obtain help. Los Angeles is one of only two
                                                                            14   counties in the state that does not have an integrated administration to address
                                                                            15   individuals suffering with both mental health and substance use disorders. This
                                                                            16   is particularly bad news given that a recent California Policy Lab study reported
                                                                            17   50 percent of unsheltered individuals suffer from a trimorbidity of physical
                                                                            18   health, mental health, and substance abuse conditions. 8 The County has the
                                                                            19   obligation to provide for indigent and low-income mental and public healthcare
                                                                            20   and is woefully failing in its obligations.
                                                                            21         6.     For years, the City struggled—and failed—to balance the needs of
                                                                            22   the housed and unhoused. The near-exclusive focus on building permanent
                                                                            23   supportive housing through Proposition HHH (“HHH”) in the last five years has
                                                                            24   led to lethal under-funding of emergency and interim shelter solutions which has
                                                                            25
                                                                                       7
                                                                                          Jessica Flores, Homeless deaths in LA County doubled between 2013 and
                                                                            26   2018, Curbed Los Angeles (Oct. 30, 2019, 3:50 PM),
                                                                                 https://la.curbed.com/2019/10/30/20940369/homeless-deaths-los-angeles-county.
                                                                            27          8
                                                                                          Janey Rountree, Nathan Less, & Austin Lyke, Health Conditions Among
                                                                                 Unsheltered Adults in the U.S. 4, California Policy Lab (Oct. 2019),
                                                                            28   https://www.capolicylab.org/wp-content/uploads/2019/10/Health-Conditions-
                                                                                 Among-Unsheltered-Adults-in-the-U.S.pdf.
                                                                                                                          4
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                                                                             1   in turn left thousands to decline and die on the streets without support from
                                                                             2   County services. Those individuals in turn, without services or shelter, languish
                                                                             3   and decline, ultimately requiring increased long-term services as a result of
                                                                             4   unnecessary years spent subject to the horrors of the street.
                                                                             5         7.     As a result of an early, partial agreement reached in this case
                                                                             6   between the City and County, in what all parties hoped was a sign of future
                                                                             7   cooperation, an additional 9,633 beds have been funded according to a recent
                                                                             8   court filing, with shared operating costs and provision of mainstream services. 9
                                                                             9   1,100 of these beds were already in the works through the Mayor’s “A Bridge
                                                                            10   Housing” program, 834 of these beds are permanent supportive housing projects
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                                                                            11   which had been long-planned, and an undefined number (likely over one
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                                                                            12   thousand) are “rapid rehousing” vouchers which don’t add to the bed inventory
                                      LOS ANGELES, CA 90025




                                                                            13   (but do help prevent homelessness). Still, this agreement undisputedly added
                                                                            14   thousands of much-needed interim beds to the inventory. Yet while this
                                                                            15   agreement was a welcome departure from the City and County’s historical
                                                                            16   squabbling over responsibility and blame, and a needed infusion of interim
                                                                            17   shelter opportunities, it still did not lead to a comprehensive agreement which
                                                                            18   would relieve the suffering on the streets in a meaningful way. Shelter remains
                                                                            19   unattainable for most, services are inaccessible for most, and streets are
                                                                            20   unbearable for all.
                                                                            21         8.     In a further effort to back away from the County’s liability, counsel
                                                                            22   repeatedly claims “This is a Skid Row lawsuit. Skid Row is in the city of L.A.
                                                                            23   Skid Row is the focal point of this whole lawsuit.” But this has never been only
                                                                            24   about Skid Row: Skid Row is the epicenter of homelessness—and not just
                                                                            25   homelessness, but in unhoused drug addiction and mental illness—in the United
                                                                            26
                                                                            27
                                                                                       9
                                                                                        Def. City of Los Angeles’ Quarterly Status Report Pursuant to the Mem.
                                                                            28   of Understanding Between the County of Los Angeles and the City of Los
                                                                                 Angeles at 64-71, ECF No. 342.
                                                                                                                       5
                                                                                         SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                             1   States, but the crisis has spread beyond the confines of Skid Row and into every
                                                                             2   corner in Los Angeles.
                                                                             3         9.     Homeless encampments are entrenched throughout the City and
                                                                             4   County. With increased population density, unlimited property accumulation has
                                                                             5   fostered a proliferation of flea-infested rats and other vermin, which are largely
                                                                             6   responsible for the recent outbreaks of medieval diseases. Large items obstruct
                                                                             7   the free passage and use of the streets and sidewalks. Encampments have
                                                                             8   brought with them rampant drug sales and use, which in turn provide a platform
                                                                             9   for violent assaults and property crimes. Crime both on and by homeless
                                                                            10   residents has intensified. 10 A homeless individual is eight times more likely to be
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                                                                            11   a victim or suspect of a crime than a housed person. In the City of Los Angeles,
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                                                                            12   42 crimes involving homeless individuals are reported per day, over half of
                                      LOS ANGELES, CA 90025




                                                                            13   which are violent. 80-90 percent of crimes reported at a homeless encampment
                                                                            14   are violent.11 In Central Bureau Homicide (which encompasses Skid Row area),
                                                                            15   40 percent of the homicides as of October, 2021 have been “transient-related”
                                                                            16   both as suspects and victims.12
                                                                            17         10.    The multiplication of makeshift structures, garbage, human waste,
                                                                            18   and other detritus has created circumstances throughout the City and County that
                                                                            19
                                                                            20         10
                                                                                           Joel Grover & Amy Corral, A Homeless Man Punched Two People in
                                                                                 the Face, But Was Cited and Released, NBC Los Angeles, (Nov. 13, 2019, 1:10
                                                                            21   PM), https://www.nbclosangeles.com/news/local/hollywood-violent-homeless-
                                                                                 attacks-increase-video-564682831.html; Eric Leonard, Homeless Crime Jumps
                                                                            22   Nearly 50 Percent in Los Angeles, LAPD Says, NBC Los Angeles (Dec. 10,
                                                                                 2018, 8:19 PM), https://www.nbclosangeles.com/news/local/LAPD-Reports-
                                                                            23   Spike-in-Homeless-Crime-502407861.html; Zoie Matthew, Crimes Against the
                                                                                 Homeless Have Risen, and Advocates are Searching for Answers, Los Angeles
                                                                            24   Magazine (Oct. 15, 2019), https://www.lamag.com/citythinkblog/homeless-
                                                                                 crime/.11
                                                                            25             Sophie Flay & Grace Manthey, What is really going on with homeless
                                                                                 crime? We crunched the numbers, ABC Eyewitness News,
                                                                            26   https://abc7.com/feature/homeless-crime-los-angeles-data-response/10827722/
                                                                                 (last visited June 22, 2022).
                                                                            27          12
                                                                                           Kevin Rector, On front lines of L.A.’s homicide spike, these detectives
                                                                                 race to solve mounting caseloads (Oct. 22, 2021, 5:00 AM),
                                                                            28   https://www.latimes.com/california/story/2021-10-22/l-a-homicide-detectives-
                                                                                 face-mounting-caseloads.
                                                                                                                           6
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                                                                             1   are crippling for local businesses, unlivable for residents, and deadly for those on
                                                                             2   the streets. The environmental impact from power-washing human waste and
                                                                             3   used needles into our oceans is unassessed and untold. Together the City and
                                                                             4   County spend over a billion dollars annually providing police, emergency, and
                                                                             5   support services to those living on the streets. And still, the tragedy unfolds.
                                                                             6         11.    As mental health affliction and drug addiction rates have soared over
                                                                             7   the last several decades, so has the cost of housing. Support structures for those
                                                                             8   on the streets have been stretched to the breaking point by burgeoning demands
                                                                             9   and insufficient funding by local, state, and federal governments. The population
                                                                            10   of people experiencing homelessness has nearly doubled since 2012 while
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                                                                            11   sustainable short- and long-term solutions have been in short supply. Los
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                                                                            12   Angeles County Department of Public Health has repeatedly warned the City that
                                      LOS ANGELES, CA 90025




                                                                            13   basic hygiene services are needed to maintain public health in or near homeless
                                                                            14   encampments—but those critical services have been in short supply. 13 With the
                                                                            15   start of the pandemic, there was a tremendous push to place bathrooms and
                                                                            16   sanitation stations near encampments to maintain hygiene, but those are rarely
                                                                            17   serviced and are now down to only 1/3 of their previous number at a time when
                                                                            18   homelessness continues to increase.14
                                                                            19         12.    Advocates have pressured the City and County for years to permit
                                                                            20   public camping, allow the accumulation of personal property on the streets, and
                                                                            21   generally make it more comfortable for people to live on the streets. But street-
                                                                            22   living is by no means more “comfortable,” because of significant health issues
                                                                            23   and inherent danger involved in being unsheltered. Enforcement of homeless-
                                                                            24   related crimes has been reduced, or in some cases eliminated, in the name of
                                                                            25
                                                                                       13
                                                                                           Matt Stiles, As Homeless Crisis Worsens in L.A., The County Leans On
                                                                            26   City Officials To Act, Los Angeles Times (June 8, 2019, 5:04 PM),
                                                                                 https://www.latimes.com/local/lanow/la-me-homeless-county-letter-20190608-
                                                                            27   story.html.
                                                                                        14
                                                                                           Lexis-Olivier Ray, City Reverses Decision to Remove Washing Stations
                                                                            28   From Encampments Following L.A. Taco Investigation, L.A. Taco (Aug. 5,
                                                                                 2021), https://www.lataco.com/bathroom-stations-encampments-la-city/.
                                                                                                                          7
                                                                                           SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                             1   compassion. But allowing people to die on the streets isn’t compassionate; it’s
                                                                             2   cruel.
                                                                             3            13.   The massive build-up of property and tents has made sidewalks
                                                                             4   unpassable. Business owners have suffered as well—customers cannot access
                                                                             5   stores and are declining to patronize them due to conditions on the streets, and
                                                                             6   business owners are spending hundreds of thousands of dollars on increased
                                                                             7   sanitation and security measures and cannot maintain employees. Residents and
                                                                             8   workers throughout the Skid Row area are confronted daily by disease, illicit
                                                                             9   drug sales and use, prostitution, and general filth and squalor. People are openly
                                                                            10   using drugs, urinating, and defecating in public.
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                                                                            11            14.   Residential and commercial buildings alike have endured fires from
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                                                                            12   homeless camps, where makeshift heaters are used to keep people warm, open air
                                      LOS ANGELES, CA 90025




                                                                            13   fires are used to cook food, utility wiring is tampered with to provide electricity,
                                                                            14   and arsons arise out of drug or property disputes. 15 Businesses are losing
                                                                            15   insurance because of the fire risk associated with homeless encampments next to
                                                                            16   their buildings. 16 Shockingly, more than 50 percent of the fires responded to by
                                                                            17   Los Angeles Fire Department are homeless-related, and one-third of those are
                                                                            18   intentionally started (arson).
                                                                            19            15.   The frequency of criminal conduct has increased so dramatically in
                                                                            20   some areas that law enforcement officials can respond only to the most egregious
                                                                            21   crimes—and often only after serious damage has been done. And those who are
                                                                            22
                                                                            23             James Queally, Firecrackers. Molotov cocktails. Fire attacks have
                                                                                          15
                                                                                 shaken L.A.’s homeless community, Los Angeles Times (Oct. 18, 2019, 7:00
                                                                            24   AM), https://www.latimes.com/california/story/2019-10-18/homeless-population-
                                                                                 attacks-fire; Joel Grover & Amy Corral, Los Angeles Homeless Illegally Use Fire
                                                                            25   Hydrants to Fill Water Balloons, Bathe, Shave, NBC Los Angeles (Aug. 24,
                                                                                 2019, 1:00 AM), https://www.nbclosangeles.com/investigations/Los-Angeles-
                                                                            26   Homeless-Illegally-Use-Fire-Hydrants-to-Fill-Water-Balloons-Bathe-Shave-
                                                                                 558051461.html.
                                                                            27          16
                                                                                           Joel Grover & Amy Corral, Your Insurance Is Canceled Because of
                                                                                 Homeless Tent Fires, NBC Los Angeles (Sept. 23, 2019, 8:39 AM),
                                                                            28   https://www.nbclosangeles.com/news/local/LA-Homeless-Encampment-Fires-
                                                                                 Insurance-Rates-Tents-Homelessness-561145811.html.
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                                                                             1   experiencing homelessness pay the highest price for this lawlessness. Violent
                                                                             2   assaults at encampments have doubled and robberies have increased 144
                                                                             3   percent. 17 As Rev. Andy Bales of Union Rescue Mission notes, “The crime on
                                                                             4   Skid Row has skyrocketed . . . we used to have a rare occurrence of shootings.
                                                                             5   Now we have them every week. People are suffering from robberies, rape,
                                                                             6   hunger, the cold or heat – you name it. I don’t know if there’s a place anyone can
                                                                             7   suffer more. It’s an absolute disaster.” 18 Year after year, assaults against
                                                                             8   homeless victims have increased, as the number of vulnerable subject to
                                                                             9   predators increases. In 2020, nearly 20 percent of homicides in Los Angeles
                                                                            10   were on unhoused individuals.19 Crime involving homeless individuals (as either
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                                                                            11   victim or suspect) is 8 percent of the crime in Los Angeles (11 percent of violent
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                                                                            12   crime), but homeless people only make up about 1 percent percent of the
                                      LOS ANGELES, CA 90025




                                                                            13   population. Random violent attacks by unhoused individuals have increased
                                                                            14   significantly, often due to drug consumption.20 Starbucks just this week
                                                                            15   announced closure of several of its stores, citing safety concerns for its customers
                                                                            16   and employees.21
                                                                            17         16.    Humans living on the streets and in their cars have no regular access
                                                                            18   to sanitation facilities, so trash and human waste end up in public spaces and
                                                                            19   ultimately our oceans. Businesses are regularly cleaning used syringes out of
                                                                            20
                                                                            21         17
                                                                                           Ethan Ward, Crime at tent encampments rises during the pandemic year,
                                                                                 Crosstown (May 4, 2021), https://xtown.la/2021/05/04/crime-homeless-
                                                                            22   individuals/.
                                                                                        18
                                                                                           Id.
                                                                            23          19
                                                                                           Eric Leonard, LA’s Staggering Murder Rate Linked to Gang Shootings
                                                                                 and Violence Against Homeless, NBC Los Angeles (Nov. 23, 2020, 8:01 PM),
                                                                            24   https://www.nbclosangeles.com/news/local/las-staggering-murder-rate-linked-to-
                                                                                 gang-shootings-and-violence-against-homeless/2469360/.
                                                                            25          20
                                                                                           LAPD Says Random, Violent Attacks By Unhoused Residents Are on The
                                                                                 Rise, CBS Los Angeles (May 19, 2021, 11:32 PM),
                                                                            26   https://losangeles.cbslocal.com/2021/05/19/lapd-says-random-violent-attacks-by-
                                                                                 unhoused-residents-are-on-the-rise/.
                                                                            27          21
                                                                                           Christian Martinez, Starbucks to close six Los Angeles-are stores it calls
                                                                                 ‘unsafe to continue to operate’, Los Angeles Times (July 12, 2022, 6:34 PM),
                                                                            28   https://www.latimes.com/california/story/2022-07-12/starbucks-to-close-six-los-
                                                                                 angeles-stores-10-others-around-country-due-to-safety-issues.
                                                                                                                          9
                                                                                           SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   their drains; an untold number are washed into our waterways. The
                                                                               2   environmental impact of the homelessness crisis was recently underscored in a
                                                                               3   letter from the Environmental Protection Agency.22 Yet the governmental
                                                                               4   policies and inaction that perpetuate these pollutants continue unabated.
                                                                               5         17.    Measure H—a county-wide tax increase that was originally
                                                                               6   estimated to net $355 million in homeless-relief funding available per year but
                                                                               7   now brings in over half a billion dollars yearly—is spread so thin it serves more
                                                                               8   to feed the County’s own bureaucracy than to make any significant dent in the
                                                                               9   crisis. 23 And the original focus of the measure—supporting the City’s HHH
                                                                              10   projects and providing increased intensive services and treatment—isn’t even
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   mentioned in its annual budget. Meanwhile the County does the bare minimum
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                                                                              12   to support the Department of Mental Health, which in turn is holding somewhere
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                                                                              13   between $500 million and a billion dollars in its account unspent.
                                                                              14         18.     Despite the magnitude of the problem, a major course correction
                                                                              15   can be made without breaking municipal budgets. Steps could be taken to
                                                                              16   provide safe sleeping spaces for the entire homeless population for a fraction of
                                                                              17   the funds currently devoted to the homelessness crisis—if the City and County
                                                                              18   were to work together. Reno recently build an emergency and transitional shelter
                                                                              19   community in less than 60 days that holds 600 beds at the cost of only $11,203
                                                                              20   per bed .24 Union Rescue Mission built a Sprung structure (a large membrane
                                                                              21   tent) in a matter of months—the single tent houses more than 100 people at a cost
                                                                              22   of only $10,000 per bed (including a six-month stay, security, and social
                                                                              23
                                                                                         22
                                                                                             Letter from Andrew Wheeler, Administrator, U.S. Environmental
                                                                              24   Protection Agency, to Gavin C. Newsom, Governor of California (Sept. 26,
                                                                                   2019), https://www.epa.gov/sites/production/files/2019-
                                                                              25   09/documents/9.26.19_letter-epa.pdf.
                                                                                          23
                                                                                             LAHSA, LAHSA Releases 2019 Housing Inventory Count (Sept. 19,
                                                                              26   2019), https://www.lahsa.org/news?article=584-lahsa-releases-2019-housing-
                                                                                   inventory-count (“On our present course, it will take far too long to build far too
                                                                              27   few units of housing to effectively end this crisis.” – Peter Lynn, executive
                                                                                   director  LAHSA).
                                                                              28          24
                                                                                             Renard Decl. at 1, LA Alliance for Human Rights v. City of Los
                                                                                   Angeles, Case No. 21-55395, ECF 13-2.
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                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1   services).25 The City has actually utilized this same structure in several places—
                                                                               2   yet the City’s cost was quadruple Union Rescue Missions’, at $42,000 per bed. 26
                                                                               3   In Hawaii, the city of Honolulu is putting up large military-grade inflatable tents
                                                                               4   in select parks to quickly and effectively provide shelter when the demand
                                                                               5   exceeds supply, at a cost of $6,000 per bed which also includes a 90-day stay,
                                                                               6   security, and social services. 27 Tiny houses are being used in Seattle for $6,000
                                                                               7   to $10,000 per house to create micro-villages as bridge housing. 28 Entire kits can
                                                                               8   be purchased to house a family of 4 in a large tent complete with furniture,
                                                                               9   refrigerator, heater, and electrical generator for a little more than $2,000 ($500
                                                                              10   per bed). 29 Large tents that can be purchased for $400 are being used by the city
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   of Modesto to address its own homelessness crisis. 30 3D printed 400-square foot
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                                      LOS ANGELES, CA 90025




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                                                                                             Rev. Andy Bales and J. Michael Arnold, When it Comes to
                                                                              15   Homelessness, We Must Do More and We Must Do it Now, Los Angeles
                                                                                   Downtown News (Aug. 5, 2019),
                                                                              16   http://www.ladowntownnews.com/opinion/when-it-comes-to-homelessness-we-
                                                                                   must-do-more-and/article_6b08711a-b57e-11e9-850e-670a231aefa4.html.
                                                                              17          26
                                                                                             Joel Grover and Amy Corral, Inside the Massive Tent That Might be a
                                                                                   Partial Solution Homelessness in LA, NBC Los Angeles (Sept. 18, 2019, 11:55
                                                                              18   AM), https://www.nbclosangeles.com/news/local/los-angeles-la-homeless-
                                                                                   encampments-sprung-tents-shelter-skid-row/1965408/.
                                                                              19          27
                                                                                             Dan Nakaso, Pilot project aimed at reducing Oahu’s homeless will start
                                                                                   in Waipahu, Star Advertiser (Oct. 20, 2019, 5:28 PM),
                                                                              20   https://www.staradvertiser.com/2019/10/20/hawaii-news/pilot-project-aimed-at-
                                                                                   reducing-oahus-homeless-will-start-in-waipahu/; Allyson Blair, Giant inflatable
                                                                              21   tents for the homeless could be coming to a park near you, Hawaii News Now
                                                                                   (Nov. 27, 2018, 3:19 PM), https://www.hawaiinewsnow.com/2018/11/28/giant-
                                                                              22   inflatable-tents-homeless-could-be-coming-an-oahu-park-near-you/; Ashley
                                                                                   Mizuo, Honolulu opens short-term homeless shelter in Wahiawa, The Honolulu
                                                                              23   Star-Advertiser (May 14, 2021), https://www.yahoo.com/entertainment/honolulu-
                                                                                   opens-short-term-homeless-161100501.html.
                                                                              24          28
                                                                                             See Sharon Lee, Tiny House Villages in Seattle: An Efficient Response to
                                                                                   Our Homelessness Crisis, SHELTERFORCE: The Original Voice of Community
                                                                              25   Development (Mar. 15, 2019), https://shelterforce.org/2019/03/15/tiny-house-
                                                                                   villages-in-seattle-an-efficient-response-to-our-homelessness-crisis/.
                                                                              26          29
                                                                                             Relief ShelterKits, Relief Tents: Concept Designs,
                                                                                   https://www.relieftents.com/relief-tents/shelterkit-living-supportkit/ (last visited
                                                                              27   June 22,  2022).
                                                                                          30
                                                                                             Kevin Valine, Modesto homeless camp is filling up, but officials adapt to
                                                                              28   find room for more, The Modesto Bee (May 13, 2019, 4:58 PM),
                                                                                   https://www.modbee.com/news/local/article230345544.html.
                                                                                                                             11
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                                                                               1   homes can be built in less than 24 hours and cost only $4,000 to construct.31
                                                                               2   Connect Homes produces fully integrated off-the-grid modular shelters for
                                                                               3   $20,000 to $30,000 per bed, with two-story options to densify.32 Pallet shelters,
                                                                               4   small “tiny home” type emergency structures which can be built in less than an
                                                                               5   hour, only cost approximately $8,000 per two-bed unit, but the City of Los
                                                                               6   Angeles spent an astonishing $130,000 to place such units due to over-
                                                                               7   engineering and over-regulation; comparatively Sonoma County spent only
                                                                               8   $21,817 per unit, the City of Riverside spent only $17,000 per cabin, and Tacoma
                                                                               9   only $12,000, all for the same structure. 33
                                                                              10         19.    The County’s General Hospital (LAC+USC) Building, with 1.5
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   million square feet of space in the heart of East L.A., has been vacant for over a
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                                                                              12   decade—the County at one point considered utilizing it for homeless assistance
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                                                                              13   but is now evaluating it as a “mixed use” property.34 83 acres of County-owned
                                                                              14   property exist at the old County “poor farm,” Rancho Los Amigos, a brilliant
                                                                              15   19th-century solution whereby homeless housing and medical care was combined
                                                                              16   with a working farm to both feed the residents and sell for profit to support the
                                                                              17
                                                                              18
                                                                                         31
                                                                                             Aria Bendix, These 3D-printed homes can be built for less than $4,000
                                                                              19   in just 24 hours, Business Insider (Mar. 12, 2019, 2:09 PM),
                                                                                   https://www.businessinsider.com/3d-homes-that-take-24-hours-and-less-than-
                                                                              20   4000-to-print-2018-9; Sharon Jayson, 3-D-pringed homes a concept turns into
                                                                                   something solid, The Washington Post (Mar. 6, 2020, 6:00 AM),
                                                                              21   https://www.washingtonpost.com/realestate/3d-printed-homes-a-concept-turns-
                                                                                   into-something-solid/2020/03/05/61c8b0d2-36e4-11ea-bf30-
                                                                              22   ad313e4ec754_story.html.
                                                                                          32
                                                                                             Connect Shelters, https://www.connect-shelters.com/ (last visited June
                                                                              23   22, 2022).
                                                                                          33
                                                                                             Doug Smith, $130,0000 for an 8-foot-by-8-foot shed? That’s what L.A.
                                                                              24   is paying in a bid to house the homeless, Los Angeles Times (Dec. 12, 2020, 5:51
                                                                                   PM), https://www.latimes.com/california/story/2020-12-12/los-angeles-tiny-
                                                                              25   homes-homeless.
                                                                                          34
                                                                                             Jacqueline Ramírez, Second community meeting explores future of
                                                                              26   former County Hospital, Boyle Heights Beat (Sept. 18, 2019),
                                                                                   https://boyleheightsbeat.com/second-community-meeting-explores-future-of-
                                                                              27   former-county-hospital/; Alex Medina, Community meeting to explore former
                                                                                   County Hospital re-use, Boyle Heights Beat (June 12, 2019),
                                                                              28   https://boyleheightsbeat.com/community-meeting-to-explore-former-county-
                                                                                   hospital-re-use/.
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                                                                               1   project.35 The unused acreage has been approved for a new County office-park
                                                                               2   rather than repurpose it for its original intent.36 The County owns over 200 acres
                                                                               3   of the Los Angeles County Fairgrounds (“Fairplex”) in Pomona which, while
                                                                               4   currently leased to the non-profit Los Angeles County Fair Association, may be
                                                                               5   negotiated to support shelters. The L.A. City Controller has identified 13,948
                                                                               6   separate properties within the City owned by various public entities, many of
                                                                               7   which are vacant or underutilized. 37 Even small lots could support pallet houses
                                                                               8   individual tents, or “tiny home” communities with shared bathroom facilities.
                                                                               9   Plaintiffs have identified 166.58 acres of usable City- or County-owned property
                                                                              10   that could quickly be used for these very projects. 38
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11         20.    Board-and-care facilities—which offer housing, meals, and basic
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                                                                              12   assistance for those who need supportive care—are closing all over California at
                                      LOS ANGELES, CA 90025




                                                                              13   rapid rates because it is becoming economically infeasible to remain open. 39
                                                                              14
                                                                              15         35
                                                                                              See Historic American Buildings Survey, Los Angeles County Poor
                                                                                   Farm (Rancho Los Amigos, Los Angeles County) Rancho Los Amigos Medical
                                                                              16   Center,
                                                                                   http://lcweb2.loc.gov/master/pnp/habshaer/ca/ca3500/ca3509/data/ca3509data.pd
                                                                              17   f (last visited June 22, 2022).
                                                                                           36
                                                                                              Steven Sharp, Historic Rancho Los Amigos Campus Slated for
                                                                              18   Redevelopment, URBANIZE Los Angeles (June 24, 2020, 9:55 AM),
                                                                                   https://urbanize.city/la/post/historic-rancho-los-amigos-campus-slated-
                                                                              19   redevelopment.
                                                                                           37
                                                                                              Los Angeles City Controller, Publicly-Owned Properties,
                                                                              20   https://controllerdata.lacity.org/dataset/Publicly-Owned-Properties/bawf-
                                                                                   ixme/data (last visited June 22, 2022); Los Angeles City Controller, Property
                                                                              21   Panel: A guide to publicly-owned properties in the City of Los Angeles,
                                                                                   https://lacontroller.maps.arcgis.com/apps/Cascade/index.html?appid=b6d7907c1
                                                                              22   18d4ea2a1dd96bc0425633d (last visited June 22, 2022); Natalie Hoberman,
                                                                                   Despite housing crisis, LA lags in building its own sprawling land portfolio,
                                                                              23   TheRealDeal (May 28, 2019, 1:00 PM),
                                                                                   https://therealdeal.com/la/2019/05/28/despite-housing-crisis-la-lags-in-building-
                                                                              24   on-its-own-sprawling-land-portfolio/.
                                                                                           38
                                                                                              Mitchell Decl. Ex. D, at 104, ECF No. 239-1.
                                                                              25           39
                                                                                              Jocelyn Wiener, Overlooked mental health “catastrophe:” Vanishing
                                                                                   board-and-care-homes leave residents with few options, CalMatters: Projects
                                                                              26   (Apr. 15, 2019), https://calmatters.org/projects/board-and-care-homes-closing-in-
                                                                                   california-mental-health-crisis/; Loss of Board and Care Facilities is at Crisis
                                                                              27   Level: Undermines California Counties’ Efforts to Support Individuals with
                                                                                   Serious Mental Illness, Older Adults and Persons with Disabilities at Risk of
                                                                              28   Homelessness, Steinberg Institute, County of Los Angles, County Behavioral

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                                                                               1   “Los Angeles County has lost more than 1,200 board and care placements for
                                                                               2   people with mental illness since 2016.” 40 The recent LA Times article cites
                                                                               3   higher statistics, with 1,687 beds for persons with serious mental illness closing
                                                                               4   since 2016. 41 Those facilities—which are paid only $40 per-night-per-guest by
                                                                               5   government entities—could be subsidized by the County (known as “patch
                                                                               6   funding”) to prevent closures and encourage more to open. No infrastructure
                                                                               7   need be built, and the property owners would have greater financial incentive to
                                                                               8   stay open or open anew to provide beds, meals, and basic care. Similarly, the
                                                                               9   shared/collaborative housing model supported by organizations like SHARE!,
                                                                              10   Haaven, and others, boasts zero infrastructure costs with the added benefit of
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   self-sustenance after a one-time $4,000-per-bed investment. 42
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                                                                              12         21.    While this is not a natural disaster, it is a disaster nonetheless, and it
                                      LOS ANGELES, CA 90025




                                                                              13   should be treated that way. The only way to address this crisis with the urgency
                                                                              14   it deserves is an emergency response—providing immediate shelter for all,
                                                                              15   increasing necessary outreach, services, and treatment, and abating the
                                                                              16   degradation of our cities and communities, for the good of everyone. The City
                                                                              17   saw the success of this very model at multiple locations in Los Angeles so far,
                                                                              18   including, inter alia, the Venice Boardwalk, Echo Park (though the clearance
                                                                              19   could have been handled far better), McArthur Park, Rose/Penmar, and CD 3
                                                                              20
                                                                              21
                                                                              22
                                                                              23
                                                                                   Health Directors Association, https://namisantaclara.org/wp-
                                                                              24   content/uploads/2020/11/Loss-of-Board-and-Care-Facilities-is-at-Crisis-Level-
                                                                                   2.28.20.pdf  (last visited June 22, 2022).
                                                                              25          40
                                                                                             Letter from Ann Sewill, General Manager, Los Angeles Housing
                                                                                   Department, to City Counsel, February 4, 2022,
                                                                              26   https://clkrep.lacity.org/onlinedocs/2020/20-1203_misc_2-4-22.pdf.
                                                                                          41
                                                                                             Lila Seidman, Homes for people with severe mental illness are rapidly
                                                                              27   closing. Will help come fast enough? Los Angeles Times (July 12, 2022, 4:00
                                                                                   AM), https://www.latimes.com/california/story/2022-07-12/board-and-cares-
                                                                              28   closing-amid-homelessness-crisis-los-angeles-county.
                                                                                          42
                                                                                             See para. 70 infra.
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                                                                               1   underpasses. It can be done effectively, quickly, and compassionately, and it
                                                                               2   must be done now. 43
                                                                               3                          I. JURISDICTION AND VENUE
                                                                               4         22.    This action is brought pursuant to 42 U.S.C. § 1983 and the Fifth
                                                                               5   and Fourteenth Amendments of the United States Constitution. This Court has
                                                                               6   jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343, 1367, 2201 and 2202.
                                                                               7         23.    This court has supplemental jurisdiction over Plaintiffs’ state law
                                                                               8   claims pursuant to 28 U.S.C. § 1367, as it arises from the same case or
                                                                               9   controversy as Plaintiffs’ federal claims.
                                                                              10         24.    All of the actions and omissions complained of occurred in the
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   Central District of California. Therefore, venue is proper in this District. 28
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                                                                              12   U.S.C. §1331.
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                                                                              13                          II. GENERAL ALLEGATIONS
                                                                              14         25.    Plaintiffs are informed and believe, and thereon allege, that, at all
                                                                              15   times herein mentioned, Defendant County and Does 1-200 inclusive were the
                                                                              16   agent, employee, and co-conspirator of each of the remaining Defendants, and in
                                                                              17   participating in the acts alleged in this Complaint, acted within the scope of such
                                                                              18   agency and employment, in furtherance of the conspiracy, and with the
                                                                              19   permission and consent of the co-conspirator Defendants.
                                                                              20         26.    All causes of action brought under California statutory law are for
                                                                              21   equitable and injunctive relief only. Therefore, no tort claim was necessary prior
                                                                              22
                                                                                         43
                                                                                            Plaintiffs file this amended complaint after the Ninth Circuit vacated this
                                                                              23   Court’s April 20, 2021 preliminary injunction. Specifically the Ninth Circuit
                                                                                   noted a delta between the Court’s order and Plaintiffs’ allegations and facts:
                                                                              24   Plaintiffs had not demonstrated evidence that Plaintiffs and members of the
                                                                                   Alliance are Black because Plaintiffs had not moved on any issues that were
                                                                              25   based on race, had no unsheltered homeless individuals named in the original
                                                                                   complaint, had not alleged existence of a Special Relationship or shown they are
                                                                              26   confined to Skid Row, or were deprived of medically necessary care. Plaintiffs
                                                                                   have amended this complaint to add Wenzial Jarrell, an unsheltered Black man
                                                                              27   living in Skid Row, as a Plaintiff, and added a number of named Alliance
                                                                                   members who are also unsheltered and persons of color. Plaintiffs have
                                                                              28   supplemented their Equal Protection, Due Process allegations and 17000 claims
                                                                                   to address the Ninth Circuit’s concerns.
                                                                                                                            15
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                                                                               1   to filing this suit. See Cal. Gov. Code § 905 (West 2019); Qwest Commc’ns
                                                                               2   Corp. v. City of Berkeley, 146 F. Supp. 2d 1081 (N.D. Cal. 2001); Hart v. County
                                                                               3   of Alameda, 76 Cal. App. 4th 766 (1999). For the single cause of action for
                                                                               4   damages brought under the California Constitution, a Tort Claim was filed July
                                                                               5   15, 2022. When and if the claim is rejected, Plaintiffs may seek to amend this
                                                                               6   complaint to so-allege if necessary.
                                                                               7         27.    Each paragraph of this Complaint is expressly incorporated into each
                                                                               8   cause of action set forth below.
                                                                               9                          III. FACTUAL ALLEGATIONS
                                                                              10   A.    History of Homeless Treatment in Los Angeles
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11         28.    What is now known as Skid Row began in the late 1800s as a
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                                                                              12   concentration of day-rate hotels, bars, and brothels catering to the “rail riders”
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                                                                              13   (transients riding the trains) due to its proximity to where the trains terminated at
                                                                              14   Los Angeles.44 Service providers like the Union Rescue Mission opened their
                                                                              15   doors to help the indigent who congregated there. Decades later, when the 1970s,
                                                                              16   brought a push for “de-institutionalization” of those suffering from mental
                                                                              17   illnesses, Skid Row became a beacon of hope for those needing services and
                                                                              18   shelter.45 At the same time, Downtown LA experienced an economic resurgence
                                                                              19   and developers began restoring the Skid Row area. Activists (fearful of losing
                                                                              20   housing) and downtown interests (fearful of homeless individuals wandering into
                                                                              21   the wealthier areas), together, pushed back and fought for a policy of
                                                                              22   “containment” with the goal of centralizing missions, charities, and other
                                                                              23   homeless services within the 50-square block area, encouraging “undesirable
                                                                              24
                                                                              25         44
                                                                                             Sebastin Kempkens, L.A.’s Homelessness Crisis: How Did We Get
                                                                                   Here?, LA Weekly (Nov. 21, 2018), https://www.laweekly.com/l-a-s-
                                                                              26   homelessness-crisis-how-did-we-get-here/; 99% Invisible: The Containment
                                                                                   Plan, Radiotopia (Oct. 10, 2017), https://99percentinvisible.org/episode/the-
                                                                              27   containment-plan/; Union Rescue Mission, About Skid Row,
                                                                                   https://urm.org/about/faqs/about-skid-row/  (last visited Mar. 9, 2020).
                                                                              28          45
                                                                                             See Kempkens, supra note 48, https://www.laweekly.com/l-a-s-
                                                                                   homelessness-crisis-how-did-we-get-here/.
                                                                                                                           16
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                                                                               1   population elements” to stay within the boundaries, in return for an agreement
                                                                               2   with the City to keep redevelopment out of it.46
                                                                               3         29.    The drafters of the Containment Policy were concerned that PEH
                                                                               4   and other “undesirables” could spread to other parts of the City; to combat this
                                                                               5   “people problem” the City implemented
                                                                               6                a containment approach that starts by defining an area
                                                                                                in which Skid Row activities would be allowed, but
                                                                               7                outside of which no disruptive Skid Row activity would
                                                                                                be tolerated . . . new borders were drawn that define a
                                                                               8                potential area of containment that would pull Skid Row
                                                                                                activities away from other land uses without significant
                                                                               9                relocation of housing.
                                                                              10   (Declaration of Elizabeth Mitchell (“Mitchell Decl.”) Ex. A at 143, ECF 265-1.)
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                                                                              11   (emphasis added). The “containment approach” had four pillars to it: (a) “a
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                                                                              12   deliberate control of housing stock, its allocation and location” to condense the
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                                                                              13   homeless within a smaller area of downtown Los Angeles, (b) businesses catering
                                                                              14   to Skid Row “undesirables” would be discouraged outside of the containment
                                                                              15   area, (c) services to the homeless would be centralized in the area of containment
                                                                              16   to keep the homeless there, and (d) “amenities” that attract the homeless, such as
                                                                              17   parks and public restrooms, would be centralized in the contained area. Id. The
                                                                              18   Containment Policy (the “Containment” or “Policy”) included specific maps that
                                                                              19   defined where “undesirables” would be concentrated, and also included “buffers”
                                                                              20   to further isolate the “undesirables” from others. Id. The County contributed to
                                                                              21   and benefited from Containment by concentrating its statutorily-required social
                                                                              22   services within the Containment Zone. In this way it drew in those who were in
                                                                              23   the greatest need into the Containment Zone where they were effectively
                                                                              24   prevented from leaving. This appalling Containment Policy remained until it
                                                                              25
                                                                              26
                                                                                         46
                                                                                            Rich Connell, SKID ROW: ‘Containment Strategy’ of Aiding Residents,
                                                                              27   Easing Impact on Business District Is Slow and Frustrating, Los Angeles Times
                                                                                   (Aug. 5, 1985, 12:00 AM), https://www.latimes.com/archives/la-xpm-1985-08-
                                                                              28   05-me-3525-story.html; 99% Invisible, Episode 279:The Containment Plan,
                                                                                   (Oct. 10, 2017), https://99percentinvisible.org/episode/the-containment-plan/.
                                                                                                                            17
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                                                                               1   was formally denounced in 2016, but in fact the Policy persists to this day, as
                                                                               2   evidenced by the new DTLA2040 plan.
                                                                               3          30.    The 1980s and 1990s, with the crack epidemic and simultaneous
                                                                               4   cuts to the welfare system, brought in true and enduring homelessness, with
                                                                               5   encampments springing up on sidewalks and criminals preying on the
                                                                               6   vulnerable. 47 Then-mayor Tom Bradley opened an urban campground along the
                                                                               7   L.A. River, but it was soon closed due to terrible living conditions. At various
                                                                               8   times groups have placed portable toilets in key encampment locations, only to
                                                                               9   have the city remove them when they became magnets for prostitution and drug
                                                                              10   use. In the early 1990s, as a settlement of litigation between the City and County,
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                                                                              11   Los Angeles Homeless Services Authority (“LAHSA”), a joint-powers authority,
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                                                                              12   was created to oversee the City and County’s homeless response. The aim was
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                                                                              13   more accountability, but ultimately it has resulted in an accountability deficit.
                                                                              14          31.    That deficit is particularly apparent in the litigious history of two
                                                                              15   Los Angeles Municipal Code provisions (“L.A.M.C.”), section 41.18 and section
                                                                              16   56.11, that regulate behavior in public rights-of-way. Section 41.18(d) has
                                                                              17   recently been amended to prohibit sitting, sleeping, or lying in public rights of
                                                                              18   way in sensitive areas or other areas marked by signage but only after full
                                                                              19   consideration and vote by City Council in every single area designated as such
                                                                              20   and only, for non-sensitive areas, after proof of serious injury, crime, or fires.48
                                                                              21   LAMC section 56.11 prohibits, among other things, storage of “excess personal
                                                                              22   property” meaning property which cumulatively exceeds 60 gallons in a public
                                                                              23   area. 49
                                                                              24
                                                                              25          47
                                                                                             See Kempkens, supra note 48, https://www.laweekly.com/l-a-s-
                                                                                   homelessness-crisis-how-did-we-get-here/.
                                                                              26          48
                                                                                             LOS ANGELES MUN. CODE (“LAMC”) 41.18 (2021),
                                                                                   https://clkrep.lacity.org/onlinedocs/2020/20-1376-S1_ord_draft_7-02-21.pdf.
                                                                              27          49
                                                                                             LAMC 56.11 was amended in 2016 in direct response to Lavan v. City of
                                                                                   Los Angeles, discussed infra. Its express stated purpose was to “balance the
                                                                              28   needs of the residents and public at large to access clean and sanitary public areas

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                                                                               1         32.    In 2006, the City settled a case brought by several activists, Jones v.
                                                                               2   City of Los Angeles, agreeing not to enforce section 41.18(d)’s then-restrictions
                                                                               3   on tents and people sleeping in public areas between the hours of 9 p.m. and 6
                                                                               4   a.m. As part of the agreement, the parties concurred that a published court
                                                                               5   decision would be de-published and would no longer be binding authority.
                                                                               6   According to the Los Angeles Times, “The [Jones] agreement set the stage for
                                                                               7   today’s encampment explosion.”50 And ironically, the de-published Jones
                                                                               8   decision was still oft-cited by districts courts and resurrected in the 2018
                                                                               9   published decision of Martin v. City of Boise.
                                                                              10         33.    In 2012, the Ninth Circuit upheld an injunction in Lavan v. City of
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                                                                              11   Los Angeles, 693 F.3d 1022 (9th Cir. 2012), that prohibited the City from seizing
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                                                                              12   unattended property without notice absent objectively reasonable belief that it is
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                                                                              13   abandoned, evidence of crime, contraband, or presents an “immediate threat to
                                                                              14   public health or safety.” Id. at 1026. Unfortunately, it is difficult to determine
                                                                              15   when property is “abandoned” as opposed to momentarily “unattended” when
                                                                              16   there are tens of thousands of people living unsheltered in our public spaces. The
                                                                              17   result is a massive build-up of property, which harbors significant health and
                                                                              18   safety risks that mostly go undetected until too late.
                                                                              19
                                                                              20
                                                                                   consistent with the intended uses for the public areas with the needs of the
                                                                              21   individuals, who have no other alternatives for the storage of personal property,
                                                                                   to retain access to a limited of personal property in public areas.” LAMC § 56.11.
                                                                              22   Unsurprisingly, unhappy activists have challenged the new amendment, first as
                                                                                   applied to those living in Skid Row (Mitchell v. City of Los Angeles, Case No.
                                                                              23   CV 16-01750, 2016 WL 11519288 (C.D. Cal. Apr. 13, 2016) and now city-wide
                                                                                   (Garcia v. City of Los Angeles, 19-CV-06182). The Garcia court issued an
                                                                              24   injunction against its enforcement, recently upheld by the Ninth Circuit. Garcia
                                                                                   v. City of Los Angeles, 11 F.4th 1113 (9th Cir. Sept. 2, 2021). 56.11 was recently
                                                                              25   amended to refer only to “personal property” and eliminated the 60-gallon
                                                                                   requirement.
                                                                              26          50
                                                                                             Gale Holland, Why L.A. County’s homelessness crisis has been decades
                                                                                   in the making, Los Angeles Times (June 5, 2019, 11:10 AM),
                                                                              27   https://www.latimes.com/local/california/la-me-ln-homeless-housing-crisis-
                                                                                   count-history-skid-row-20190605-story.html (“‘We are dealing with historical
                                                                              28   consequences of bad decisions made 10 years ago to guarantee a right to
                                                                                   sidewalks instead of a right to shelter,’ said Westside Councilman Mike Bonin.”).
                                                                                                                             19
                                                                                             SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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                                                                               1         34.    Eight years after the Ninth Circuit upheld the Lavan injunction, the
                                                                               2   City entered into a settlement in the case of Mitchell v. City of Los Angeles.
                                                                               3   Under the terms of that settlement, the City bound its own hands in agreeing to
                                                                               4   significantly limit the enforcement of LAMC section 56.11, permitting the
                                                                               5   accumulation of personal property beyond the code section’s limits, and
                                                                               6   relegating enforcement to only certain bulky items such as couches, mattresses,
                                                                               7   refrigerators, and wooden pallets within a designated area known as “Skid Row
                                                                               8   and surrounding areas” (thus increasing the boundaries of what was traditionally
                                                                               9   considered Skid Row). The Mitchell agreement led to a sharp decline in health
                                                                              10   and safety for housed and unhoused alike not just in Skid Row but throughout
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                                                                              11   downtown. The Mitchell agreement has expired, but the court in Garcia enjoined
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                                                                              12   the City of Los Angeles in similar fashion. It is unclear why, after litigating this
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                                                                              13   issue for decades, the City cannot manage to draft an ordinance that is workable,
                                                                              14   practical, and will pass constitutional muster.
                                                                              15         35.    Mitchell was settled in the wake of the sweeping Ninth Circuit
                                                                              16   decision addressing homeless regulation: Martin v. City of Boise, based almost
                                                                              17   entirely on the reasoning published (then de-published) in Jones. Martin held
                                                                              18   that “so long as there is a greater number of homeless individuals in a jurisdiction
                                                                              19   than the number of available beds in shelters” a person may not be prosecuted for
                                                                              20   sitting, lying, or sleeping in public. Martin, 920 F.3d at 617 (original alterations
                                                                              21   omitted) (citation omitted). The language in Martin does not provide clear
                                                                              22   guidance for cities struggling with sizable homeless populations—in some
                                                                              23   passages, Martin suggests that there must be enough beds for everyone before
                                                                              24   anyone is cited for sleeping on a sidewalk, while other aspects of Martin indicate
                                                                              25   that individuals “who do have access to adequate temporary shelter” but “choose
                                                                              26   not to use it” may be prosecuted without reference to the community. Id. at n.8.
                                                                              27         36.    Regardless of how Martin is interpreted, its clear effect is to tie
                                                                              28   enforcement of public regulation ordinances to the provision of shelter. And

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                                                                               1   most people agree that the balanced approach is exactly that: provision of safe,
                                                                               2   humane, dignified, and healthy shelters with a path out of homelessness, along
                                                                               3   with regulation of our public spaces. But instead, the City’s and County’s
                                                                               4   approach to the Martin decision has been a lack of both shelters and regulation.
                                                                               5         37.    While homelessness has now exploded beyond the boundaries of
                                                                               6   Skid Row—resulting in public outcry at encampments, crime, and squalor in
                                                                               7   neighborhoods which previously could ignore the devastation—the most heavily
                                                                               8   impacted area is still without a doubt the area of Containment. City and County
                                                                               9   policies continue to concentrate persons experiencing homelessness in Skid Row,
                                                                              10   creating horribly dangerous conditions for unhoused individuals and others living
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                                                                              11   in the area. Affordable housing and services are still heavily concentrated in Skid
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                                                                              12   Row, while development of these housing or services in other areas can take
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                                                                              13   years, even for by-right projects. To this day, Skid Row is an enforcement-free
                                                                              14   zone, effectively exempt from laws against drug use and sales, weapons
                                                                              15   trafficking, human trafficking, gang activity, and public intoxication; reinforcing
                                                                              16   the concentration of human tragedy in a half-square-mile area.
                                                                              17         38.    The most obvious and overt example of the continuing Containment
                                                                              18   Policy is the DTLA2040 plan, recently approved by the Planning Commission
                                                                              19   and formally recommended to City Council, again with significant advocacy and
                                                                              20   support from groups like Los Angeles Community Action Network (LACAN).51
                                                                              21   In creating the new plan for Downtown Los Angeles, the City created an entirely
                                                                              22   new zoning designation just for the Skid Row area, permitting only homeless
                                                                              23   housing developments. This the only such area zoned for this specific purpose in
                                                                              24   the entire City and County (and in fact the nation). This plan re-codifies the
                                                                              25   Containment Policy and flies in the face of decades of research demonstrating the
                                                                              26
                                                                              27
                                                                                         51
                                                                                             Department of City Planning Recommendation Report (June 17, 2021),
                                                                              28   https://planning.lacity.org/odocument/04ca2a68-c5fd-4a26-90c2-
                                                                                   8128910239f7/DRAFT_DTLA_CPC_Staff_Recommendation_Report.pdf.
                                                                                                                          21
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                                                                               1   harmful effects of centralizing poverty.52 Under both Federal and California law,
                                                                               2   cities are required to “Affirmatively Further Fair Housing” which includes
                                                                               3   “Replacing Segregated Living Patterns with Truly Integrated and Balanced
                                                                               4   Living Patterns” and “Transforming Racially and Ethnically Concentrated Areas
                                                                               5   of Poverty (R/ECAP) into Areas of Opportunity” such as providing “economic
                                                                               6   development strategies,” “prioritizing investment,” and “promoting mixed-
                                                                               7   income development coupled with strong anti-displacement protections.” 53
                                                                               8   Instead the DTLA2040 plan maintains the segregated living pattern of Skid Row
                                                                               9   and reinforces the most racially and ethnically concentrated area of poverty in the
                                                                              10   entire county (and likely the nation). Because of the Containment Policy, there
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                                                                              11   has been an obvious disinvestment in the area with extremely limited or no
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                                                                              12   access to grocery stores, pharmacies, drug stores, restaurants, transit, retail, and
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                                                                              13   job opportunities, and an abundance of crime, violence, fires, death, and disease.
                                                                              14   With DTLA2040 the Containment Policy is reinforced, and homeless people are
                                                                              15   corralled and contained into a specified area of the city where they are effectively
                                                                              16   abandoned.
                                                                              17         39.    The lack of affordable housing in Los Angeles is no doubt one of the
                                                                              18   drivers of homelessness. In 2015, the City declared a housing emergency and in
                                                                              19   2018 the County did as well and both remain in place. See Sept. 22 Motion (we
                                                                              20   “face an emergency today that requires strong and immediate action by the City
                                                                              21   of Los Angeles.”)54; Resolution of the Board of Supervisors of the County of Los
                                                                              22   Angeles Declaring a Shelter Crisis, October 30, 2018. The County has done little
                                                                              23
                                                                              24         52
                                                                                             See, e.g. Understanding Neighborhood Effects of Concentrated Poverty,
                                                                                   Office of Policy Development and Research (Winter 2011),
                                                                              25   https://www.huduser.gov/portal/periodicals/em/winter11/highlight2.html.
                                                                                          53
                                                                                             California Department of Housing and Community Development,
                                                                              26   Affirmatively Furthering Fair Housing Guidance for All Public Entities and for
                                                                                   Housing Elements 4, 17 (Apr. 2021), https://www.hcd.ca.gov/community-
                                                                              27   development/affh/docs/affh_document_final_4-27-2021.pdf.
                                                                                          54
                                                                                             City Councilmembers Gilbert Cedillo and Mike Bonin, Motion: State of
                                                                              28   Emergency (Sept. 22, 2015), https://clkrep.lacity.org/onlinedocs/2015/15-
                                                                                   1138_mot_09-22-2015.pdf
                                                                                                                           22
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                                                                               1   to facilitate the needed expansion housing in the very low- or low-income
                                                                               2   categories. For example, in the last reporting period by the County (all
                                                                               3   unincorporated areas), from 2014 to 2019 it produced a paltry 891 units of very
                                                                               4   low- and low-income housing in an unincorporated area of over 1 million
                                                                               5   residents. In fact, in the entire unincorporated county only 6,157 housing units in
                                                                               6   total were produced. Los Angeles is now ranked as the most unaffordable city in
                                                                               7   the country, with over 60 percent of tenants paying more than 30 percent of their
                                                                               8   household income for rent and over 30 percent of tenants severely rent-burdened,
                                                                               9   paying more than 50 percent of their income for rent. Both City and County have
                                                                              10   failed to meet their housing requirements for very low, low, and moderate-
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                                                                              11   income permits. The County only permitted 22.5 percent of its required very
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                                                                              12   low-income projects, 24.1 percent of its low-income projects, 14 percent of its
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                                                                              13   moderate-income projects, and 190.2 percent of its above-moderate income
                                                                              14   projects. This was an intentional, affirmative choice made year-after-year,
                                                                              15   knowing the implications on people experiencing homelessness and the
                                                                              16   disproportionate impact on Black Angelenos.
                                                                              17   B.    Crime and Fire Incidents Have Rocketed
                                                                              18         40.    The crisis of so many unsheltered individuals in a wealthy City and
                                                                              19   County is a tragedy in and of itself. But the tragedy has been exacerbated by a
                                                                              20   severe spike in crime both on and by homeless persons, particularly in violent
                                                                              21   attacks.55 Los Angeles Police Department (“LAPD”) citywide data from 2016 to
                                                                              22   2020 shows a 200 percent increase in crime against persons experiencing
                                                                              23   homelessness, 56 and an increase of 354 percent of suspects experiencing
                                                                              24
                                                                              25         55
                                                                                             Leonard, supra note 7,
                                                                                   https://www.nbclosangeles.com/news/local/LAPD-Reports-Spike-in-Homeless-
                                                                              26   Crime-502407861.html; Matthew, supra note 7,
                                                                                   https://www.lamag.com/citythinkblog/homeless-crime/.
                                                                              27          56
                                                                                             It must be noted this statistic is only available for persons who reported
                                                                                   the crime; an untold number of crimes are perpetrated on persons experiencing
                                                                              28   homelessness which go unreported because the victim lacks agency, awareness,
                                                                                   hope, or fears retribution.
                                                                                                                               23
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                                                                               1   homelessness. The top three crimes reported for both suspects and victims
                                                                               2   experiencing homelessness were assault with a deadly weapon, battery, and
                                                                               3   robbery.57
                                                                               4         41.    In addressing the rise in crime within the homeless community, one
                                                                               5   City official accurately noted, “[T]here are certainly tensions that are rising
                                                                               6   within the homeless population. . . the connective tissue between them all is the
                                                                               7   increase in the concentration. As the homeless encampments increase, so do
                                                                               8   fights over territory, over property, over intangibles, as well as domestic
                                                                               9   violence.”58 “Personal Security Tips” have been given to County employees
                                                                              10   walking to and from civil and mental health courts, advising them “remain
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                                                                              11   vigilant,” “travel in numbers,” and “drive in a middle or left lane” due to the
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                                                                              12   criminal element rising out of surrounding homeless encampments.
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                                                                              13         42.    Crime against homeless women in particular has become a “crisis
                                                                              14   within a crisis” with 60 percent of homeless women reporting violence in the last
                                                                              15   year and 25 percent experiencing it “often” or “always.” 59 More than a quarter
                                                                              16   have experienced sexual assault in the last twelve months, and 37 percent report
                                                                              17   having experienced domestic violence in the same time period.60
                                                                              18         43.    As crime has increased, so have fires. There were 2,500 fires just
                                                                              19   involving the homeless community in Los Angeles in 2018, which is double the
                                                                              20
                                                                              21
                                                                              22
                                                                                         57
                                                                                             Nisha Venkat, LA’s homeless crime epidemic, Crosstown (June 23,
                                                                              23   2020),58https://xtown.la/2020/06/23/homeless-crime-los-angeles/.
                                                                                             See Queally, supra note 12,
                                                                              24   https://www.latimes.com/california/story/2019-10-18/homeless-population-
                                                                                   attacks-fire.
                                                                              25          59
                                                                                             Elijah Chiland, For women, ‘living on the streets in Los Angeles is
                                                                                   dangerous and traumatic’, Curbed Los Angeles (Jan. 30, 2020, 2:25 PM),
                                                                              26   https://la.curbed.com/2020/1/30/21115700/downtown-womens-center-homeless-
                                                                                   report.60
                                                                              27             Downtown Women’s Center, 2019 Los Angeles City Women’s Needs
                                                                                   Assessment, https://www.downtownwomenscenter.org/wp-
                                                                              28   content/uploads/2020/01/DWC-2019-Los-Angeles-Womens-Needs-
                                                                                   Assessment.pdf (last visited June 22, 2022).
                                                                                                                           24
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                                                                               1   number of such fires in 2017. 61 That number jumped to 3,285 in 2019 and 6,151
                                                                               2   in 2020. 62 53.87 percent of all fires in the City of Los Angeles are homeless-
                                                                               3   related; nearly 20 percent of all fires in the city are homeless-related arson fires.
                                                                               4   This represents a 245 percent increase in all homeless-related fires and 240
                                                                               5   percent increase in all homeless-related arson fires since 2018.63 The industrial
                                                                               6   buildings and businesses downtown regularly experience fires from adjacent
                                                                               7   encampments, whether from heaters, food preparation, or arson. Businesses are
                                                                               8   being dropped by insurance companies because of the fire risks due to the
                                                                               9   homeless living on their sidewalks. 64 Fire hydrants are being repurposed by
                                                                              10   homeless individuals for drinking, bathing, and washing clothes and personal
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                                                                              11   items, compromising fire-readiness and putting an untold number of lives and
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                                                                              12   structures at greater risk in the event of a fire. 65 There have been no observable
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                                                                              13   efforts to curb the use of open flames, despite fire code provisions that prohibit
                                                                              14   them and the frequent use of open flames in homeless encampments.66 In fact,
                                                                              15   the Mitchell settlement specifically permits violations of the fire code by
                                                                              16   allowing “open-flame cooking devices” as long as they have fuel containers
                                                                              17   under a certain size. See Stipulated Order of Dismissal at 11, Mitchell v. City of
                                                                              18   Los Angeles, Case No. CV16-01750 (C.D. Cal. May 31, 2019), ECF No. 119.
                                                                              19         44.    Fires originating in homeless encampments are now a regular
                                                                              20   occurrence in Los Angeles County. One of the most destructive fires in Los
                                                                              21   Angeles over the last 10 years, the Skirball Fire, was caused by a cooking fire at a
                                                                              22
                                                                                         61
                                                                                             See Queally, supra note 12,
                                                                              23   https://www.latimes.com/california/story/2019-10-18/homeless-population-
                                                                                   attacks-fire.
                                                                              24          62
                                                                                             Mitchell Decl. Ex. C, at 188, ECF No. 265-1.
                                                                                          63
                                                                                             Id.
                                                                              25          64
                                                                                             Grover, supra note 13, https://www.nbclosangeles.com/news/local/LA-
                                                                                   Homeless-Encampment-Fires-Insurance-Rates-Tents-Homelessness-
                                                                              26   561145811.html.
                                                                                          65
                                                                                             Joel Grover and Amy Corral, Firefighters Lose Critical Tool to Battle
                                                                              27   Rise in Homeless Fires, NBC Los Angeles (July 25, 2019, 10:53 AM),
                                                                                   https://www.nbclosangeles.com/investigations/Firefighters-Lose-Critical-Tool-
                                                                              28   to-Battle-Rise-in-Homeless-Fires-513057481.html.
                                                                                          66
                                                                                             Id.
                                                                                                                            25
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                                                                               1   homeless encampment in the hills of Bel Air in 2017—which caused thousands
                                                                               2   to evacuate and destroyed several houses. 67 In July 2019, a fire broke out in a
                                                                               3   homeless encampment in the Sepulveda Basin, where homeless residents report
                                                                               4   they put out “multiple fires daily,” burning 6 acres and destroying the
                                                                               5   encampment. 68 This unchecked chaos in the County is directly linked to and as a
                                                                               6   result of the County’s failure to address homelessness system-wide.
                                                                               7   C.    Public Health is Compromised
                                                                               8         45.    Beyond crime and fire, the homelessness crisis presents a pressing
                                                                               9   public health predicament. The Covid-19 pandemic drew attention to the
                                                                              10   inability of the unsheltered community to maintain a sanitary environment
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                                                                              11   without regular access to restrooms or running water, and the potential health
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                                                                              12   implications for the rest of the housed community. But even before Covid
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                                                                              13   existed, homelessness created significant health hazards. The accumulation of
                                                                              14   property and food storage in tents by homeless individuals has made Skid Row
                                                                              15   and other areas hotbeds for flea-infested rats and other disease-carrying vermin,
                                                                              16   making some areas nearly unlivable.69 Los Angeles declared Skid Row a “typhus
                                                                              17   zone” and at least one Deputy City Attorney contracted typhus apparently from
                                                                              18
                                                                              19
                                                                              20
                                                                              21         67
                                                                                             Gale Holland, Laura J. Nelson, et al., Fire at a homeless encampment
                                                                                   sparked Bel-Air blaze that destroyed homes, officials say, Los Angeles Times
                                                                              22   (Dec. 12, 2017, 5:55 PM), https://www.latimes.com/local/lanow/la-me-skirball-
                                                                                   fire-cause-20171212-story.html.
                                                                              23          68
                                                                                             Ariella Plachta and Elizabeth Chou, A Sepulveda basin encampment fire
                                                                                   left dozens of homeless people displaced but service providers have little to offer
                                                                              24   them, Los Angeles Daily News (May 2, 2020, 11:01 AM),
                                                                                   https://www.dailynews.com/2019/07/31/a-sepulveda-basin-encampment-fire-left-
                                                                              25   dozens-of-homeless-people-displaced-but-service-providers-have-little-to-offer-
                                                                                   them/. 69
                                                                              26             Lauren Fruen, Collapse of a City That’s Lost Control: Shocking New
                                                                                   Pictures From Downtown LA Capture The Huge Problem it Faces With Trash
                                                                              27   and Rats Amid Fear of Typhoid Fever Outbreak Among LAPD, Daily Mail and
                                                                                   Associated Press, (June 2, 2019, 1:32 PM),
                                                                              28   https://www.dailymail.co.uk/news/article-7095533/Pictures-downtown-LA-
                                                                                   capture-problem-faces-trash-tries-rodents.html.
                                                                                                                            26
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                                                                               1   the conditions surrounding her office building in Downtown Los Angeles. 70
                                                                               2   LAPD Officers working Central Division downtown contracted typhoid fever,
                                                                               3   caused by contamination of human fecal matter. 71 The United Nations noted
                                                                               4   “Los Angeles failed to meet even the minimum standards the United Nations
                                                                               5   High Commissioner for Refugees sets for refugee camps in the Syrian Arab
                                                                               6   Republic and other emergency situations.” 72 The City Controller reported that in
                                                                               7   2017 City officials had removed 8 tons of solid waste, including 40 pounds of
                                                                               8   urine and feces from homeless encampments in one cleanup of one
                                                                               9   encampment. 73 Los Angeles Sanitation (LASAN) estimated that its program,
                                                                              10   Operation Healthy Streets, cleared an average of 5 tons of solid waste per day at
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                                                                              11   encampments in the City.74 While shelter is a good start to move people inside,
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                                                                              12   without services and treatment many of those for whom shelter isn’t an option
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                                                                              13   continue the unhealthy behaviors on the street.
                                                                              14         46.    In addition to the societal implications associated with unsanitary
                                                                              15   conditions related to unsheltered homelessness, it has been well-documented that
                                                                              16   the physical and mental health of unsheltered persons is significantly worse than
                                                                              17   those of their sheltered or housed counterparts. 75 According to a report from the
                                                                              18
                                                                              19         70
                                                                                             Harriet Ryan, ‘Absolutely terrifying’: Deputy city attorney says she
                                                                                   contracted typhus at City Hall, Los Angeles Times, (Feb. 9, 2019, 5:45 PM),
                                                                              20   https://www.latimes.com/local/lanow/la-me-ln-city-hall-typhus-20190209-
                                                                                   story.html.
                                                                              21          71
                                                                                             Jaclyn Cosgrove, LAPD employee contracts bacteria that causes typhoid
                                                                                   fever, Los Angeles Times, (May 29, 2019, 8:44 PM),
                                                                              22   https://www.latimes.com/local/lanow/la-me-ln-lapd-typhoid-fever-20190529-
                                                                                   story.html.
                                                                              23          72
                                                                                             Report of the Special Rapporteur on extreme poverty and human rights
                                                                                   on his mission to the United States of America, U.N. Doc. A/HRC/38/33/Add.1
                                                                              24   (May 4, 2018), https://documents-dds-
                                                                                   ny.un.org/doc/UNDOC/GEN/G18/125/30/PDF/G1812530.pdf.
                                                                              25          73
                                                                                             Ron Galperin, Los Angeles City Controller, Report on Homeless
                                                                                   Encampments, Office of the Controller (Sept. 27, 2017),
                                                                              26   https://lacontroller.org/audits-and-reports/homeless-encampments/.
                                                                                          74
                                                                                             Id.
                                                                              27          75
                                                                                             Adeline M. Nyamathi and Barbara Leake, et al., Sheltered versus
                                                                                   nonsheltered homeless women, J. Gen. Intern. Med. vol. 15, issue 8, at pp. 565-72
                                                                              28   (Aug. 2000), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1495574/;

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                                                                               1   Los Angeles County Department of Public Health (“DPH”), homeless-related
                                                                               2   deaths have nearly tripled from 2014 to 2021.76 On average, a homeless person
                                                                               3   in Los Angeles will die 22 years earlier than the general population.77 An earlier
                                                                               4   homeless mortality report noted:
                                                                               5                A principal finding is that the overall homeless
                                                                                                mortality rate has steadily increased over the past six
                                                                               6                years. This means that increases in the number of
                                                                                                homeless deaths recently reported in the media cannot
                                                                               7                be attributed solely to the fact that the total number of
                                                                                                homeless people has also been increasing. Put simply,
                                                                               8                being homeless in LA     County is becoming
                                                                                                increasingly deadly. 78
                                                                               9
                                                                                         47.    Dr. Barbara Ferrer, director of DPH conceded: “Homeless people
                                                                              10
                                                                                   are in fact dying at a higher rate because they’re homeless.”79 Meaning, while
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                                                                                   the PIT count increases year-after-year, the mortality rate of the unsheltered
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                                                                                   population is increasing at an even faster rate. Below is a chart of both homeless
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                                                                                   deaths and rates of homeless deaths over the last several years, both of which are
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                                                                                   increasing. Alarmingly, the deaths of people experiencing homelessness jumped
                                                                              15
                                                                                   56 percent in one year, reflected by the most recent calculations. Even removing
                                                                              16
                                                                                   Covid-related deaths, the increase was a shocking 42 percent.80
                                                                              17
                                                                              18
                                                                                   Rountree, supra note 8, https://www.capolicylab.org/wp-
                                                                              19   content/uploads/2019/10/Health-Conditions-Among-Unsheltered-Adults-in-the-
                                                                                   U.S.pdf.
                                                                              20          76
                                                                                             County of Los Angeles, Public Health, Mortality among People
                                                                                   Experiencing Homelessness in Los Angeles County: One Year Before and After
                                                                              21   the Start of the COVID-19 Pandemic (April 2022),
                                                                                   http://publichealth.lacounty.gov/chie/reports/Homeless_Mortality_Report_2022.p
                                                                              22   df. 77
                                                                                             County of Los Angeles, Public Health, Center for Health Impact
                                                                              23   Evaluation, Recent Trends in Mortality Rates and Causes of Death Among
                                                                                   People Experiencing Homelessness in Los Angeles County (October 2019),
                                                                              24   http://publichealth.lacounty.gov/chie/reports/HomelessMortality_CHIEBrief_Fin
                                                                                   al.pdf at 5 (“The average age at death was 51 among the homeless and 73 among
                                                                              25   the general   population.”).
                                                                                          78
                                                                                             Id. (emphasis added).
                                                                              26          79
                                                                                             Jessica Flores, Homeless deaths in LA County doubled between 2013
                                                                                   and 2018, Curbed Los Angeles (Oct. 30, 2019, 3:50 PM),
                                                                              27   https://la.curbed.com/2019/10/30/20940369/homeless-deaths-los-angeles-county.
                                                                                          80
                                                                                             County of Los Angeles, Public Health, supra note 79,
                                                                              28   http://publichealth.lacounty.gov/chie/reports/Homeless_Mortality_Report_2022.p
                                                                                   df.
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                                                                              16         48.    Yet in New York City, where the number of people experiencing
                                                                              17   homelessness is high but the rate of unsheltered homelessness is low (5 percent
                                                                              18   compared to Los Angeles’ 75 percent), the mortality rates of homeless persons
                                                                              19   compared to general population low-income adults is nearly identical.81 Where
                                                                              20   “[m]ortality is a key health indicator” and unsheltered homeless die at a
                                                                              21   significantly faster rate than persons experience homelessness who are at least
                                                                              22   sheltered, there is no doubt unsheltered homelessness both causes and
                                                                              23   exacerbates physical and mental health problems.82
                                                                              24
                                                                              25         81
                                                                                             Bonnie D. Kerker, PhD, Jay Bainbridge, PhD, et al., A Population-Based
                                                                                   Assessment of the Health of Homeless Families in New York City, 2001–2003,
                                                                              26   American Journal of Public Health (Sept. 20, 2011),
                                                                                   https://ajph.aphapublications.org/doi/abs/10.2105/AJPH.2010.193102.
                                                                              27          82
                                                                                             County of Los Angeles, supra note 80,
                                                                                   http://publichealth.lacounty.gov/chie/reports/HomelessMortality_CHIEBrief_Fin
                                                                              28   al.pdf; Seena Fazel, MD, John R. Geddes, MD, et al., The health of homeless

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                                                                               1         49.    Los Angeles County has acknowledged this, and in 2012 the
                                                                               2   Department of Health Services launched a program called Housing for Health,
                                                                               3   observing “[a]ccess to community based housing options is an important element
                                                                               4   of our evolving county healthcare system, particularly in response to the
                                                                               5   homelessness crisis.”83 A study conducted by the RAND Corporation on the first
                                                                               6   890 participants enrolled found that the cost of providing health care per
                                                                               7   participant decreased by 40 percent (from an average of $38,146 to $15,358)
                                                                               8   because there was less need for the patients to access the system. 84
                                                                               9   D.    Crowded and Blocked Sidewalks Put Everyone at Risk
                                                                              10         50.    The homelessness crisis has also impeded the use of a critical
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11   element of city life: sidewalks. While it is true that public sidewalks exist for the
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                                                                              12   benefit of all—and blocked sidewalks harm everyone who needs to use them and
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                                                                              13   cannot, the harm felt by all members of society is not identical. Free and clear
                                                                              14   sidewalks are critical for individuals using mobility devices like walkers and
                                                                              15   wheelchairs. Municipalities have an obligation to ensure that public sidewalks
                                                                              16   are usable and compliant with ADA requirements, such as providing a minimum
                                                                              17   of 36 inches of clearance for wheelchair users, yet the City had regularly ignored
                                                                              18   its obligations and failed to provide such clearance. Encampments throughout
                                                                              19
                                                                              20   people in high-income countries: descriptive epidemiology, health consequences,
                                                                                   and clinical and policy recommendations, The Lancet, vol. 382, issue 9953, pp.
                                                                              21   1529-40 (Oct. 25, 2014),
                                                                                   https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(14)61132-
                                                                              22   6/fulltext; County of Los Angeles, supra note 79,
                                                                                   http://publichealth.lacounty.gov/chie/reports/Homeless_Mortality_Report_2022.p
                                                                              23   df. 83
                                                                                             Health Services of Los Angeles County, Housing for Health,
                                                                              24   https://dhs.lacounty.gov/lacusc/our-services/housing/ (last visited June 23, 2022).
                                                                                          84
                                                                                             Sarah B. Hunter, Housing for Health; Los Angeles County’s Department
                                                                              25   of health Tackles Homelessness with an Innovative Housing Program That Saves
                                                                                   Money, The Rand Blog (Jan. 18, 2018),
                                                                              26   https://www.rand.org/blog/2018/01/housing-for-health-los-angeles-countys-
                                                                                   department-of.html (Notably the County experienced a net savings of 20% even
                                                                              27   taking the costs of housing into consideration (from an average of $38,146 per
                                                                                   participant to $30,646). Of course, this number doesn’t take into consideration
                                                                              28   the additional savings from other departments such as reduced law enforcement
                                                                                   contacts.
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                                                                               1   the City and County block sidewalks and public rights-of-way. Those
                                                                               2   encampments will be significantly reduced under this new agreement.
                                                                               3   E.    Environmental Impact
                                                                               4         51.   The unhealthiness of the homelessness crisis extends to the
                                                                               5   environment. There appears to be no environmental impact study of the kind of
                                                                               6   widespread and systemic homelessness in Los Angeles. Yet all indications show
                                                                               7   the impact has been significant. 85 Every day, businesses and residents find used
                                                                               8   needles in their drains, on sidewalks, and in gutters. Los Angeles County has far
                                                                               9   more unsheltered people than Orange County, and officials there recovered over
                                                                              10   14,000 hypodermic needles, plus over 5,000 pounds of “hazardous waste”
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                                                                              11   including human waste, and toxic chemicals such as propane, pesticides,
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                                                                              12   solvents, and paint during a clean-up of a homeless encampment in the Santa Ana
                                      LOS ANGELES, CA 90025




                                                                              13   Riverbed consisting of approximately 1400 people. 86 While City sanitation
                                                                              14   workers are deployed to identify and discard toxic waste, only 30 teams are
                                                                              15   working to cover 500 square miles, human waste, and other toxic substances is
                                                                              16   regularly making its way into our ecosystems.
                                                                              17         52.   The Environmental Protection Agency recognized this issue in a
                                                                              18   letter addressed to Governor Gavin Newsom:
                                                                              19               The EPA is aware of the growing homelessness crisis
                                                                                               developing in major California cities, including Los
                                                                              20               Angeles and San Francisco, and the impact of this crisis
                                                                                               on the environment. Indeed, press reports indicate that
                                                                              21               “piles of human feces” on sidewalks and streets in these
                                                                                               cities are becoming all too common. The EPA is
                                                                              22               concerned about the potential water quality impacts
                                                                                               from pathogens and other contaminants from untreated
                                                                              23               human waste entering nearby waters. San Francisco,
                                                                              24
                                                                                         85
                                                                                             Courtenay White, Environmental Impacts of Homeless Encampments in
                                                                              25   the Guadalupe River Riparian Zone, School of Environment and Sustainability,
                                                                                   Royal Roads University (Nov. 19, 2013),
                                                                              26   https://viurrspace.ca/bitstream/handle/10170/665/white_courtenay.pdf?sequence=
                                                                                   1&isAllowed=y.
                                                                              27          86
                                                                                             Anh Do, ‘Eye-popping’ number of hypodermic needles, pounds of waste
                                                                                   cleared from Orange County riverbed homeless encampment, Los Angeles Times
                                                                              28   (Mar. 10, 2018, 4:30 PM), https://www.latimes.com/local/lanow/la-me-ln-
                                                                                   riverbed-debris-20180310-story.html.
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                                                                                                 Los Angeles and the state do not appear to be acting
                                                                               1                 with urgency to mitigate the risks to human health and
                                                                                                 the environment that may result from the homelessness
                                                                               2                 crisis. 87
                                                                               3           53.   Thousands of people camp in or near the Los Angeles River basin,
                                                                               4   without access to toilets and sanitation services. The amount of related toxic and
                                                                               5   human waste making its way into our environment is, upon information and
                                                                               6   belief, substantial, but its full scope is unknown. 88 The Ballona Wetlands have
                                                                               7   been ravaged by nearby encampments through raw sewage dumps, needles, and
                                                                               8   fires. 89
                                                                               9           54.   The environmental impact of fires arising out of homelessness is
                                                                              10   also of great concern. Fires originating in homeless encampments are not just a
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                                                                              11   potential threat—they have actually destroyed thousands of acres of brush and
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                                                                              12   wildlife. The sweeping footprints of the County of Los Angeles encompass vast
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                                                                              13   amounts of undeveloped land, full of dry brush and other readily combustible
                                                                              14   material. Such areas are an attractive location for many people experiencing
                                                                              15   homelessness wishing to reside “off the grid” and the combination of propane-
                                                                              16   fueled cooking fires and bootlegged electricity in untended conditions is a recipe
                                                                              17   for, and indeed has already resulted in, massively destructive fires.
                                                                              18   F.      Property Values and Businesses are Affected
                                                                              19           55.   Another casualty of the homelessness crisis is the value of property
                                                                              20   and businesses. Downtown Los Angeles has experienced a renaissance over the
                                                                              21   last 20 years with loft conversions, hundreds of new restaurants, and until
                                                                              22
                                                                              23
                                                                                           87
                                                                                             Letter to Governor Gavin C. Newsom from Andrew R. Wheeler,
                                                                              24   September 26, 2019, https://www.epa.gov/sites/production/files/2019-
                                                                                   09/documents/9.26.19_letter-epa.pdf.
                                                                              25          88
                                                                                             Anna Almendrala, Fecal Bacteria in California Waterways Increases
                                                                                   With Homelessness crisis, CaliforniaHealthline.org (Jan. 6, 2020),
                                                                              26   https://californiahealthline.org/news/fecal-bacteria-in-californias-waterways-
                                                                                   increases-with-homeless-crisis/.
                                                                              27          89
                                                                                             Erika D. Smith, Trash, needles and fire. He’s watching homelessness
                                                                                   destroy the Ballona Wetlands, Los Angeles Times (June 17, 2021, 5:00 AM),
                                                                              28   https://www.latimes.com/california/story/2021-06-17/hes-watching-la-
                                                                                   homelessness-destroy-ballona-wetlands.
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                                                                               1   recently over 3,000,000 square feet of office space under construction.90 That
                                                                               2   renaissance is now in jeopardy due to the homelessness crisis. Businesses are
                                                                               3   suffering and property values have been affected. The average apartment
                                                                               4   occupancy rate, rent pricing, number of sales, and sale price per square foot
                                                                               5   downtown have all decreased from 2018 numbers correlating with a rise in
                                                                               6   homelessness at the same time. Businesses throughout Los Angeles, such as
                                                                               7   Desuar Spa on 5th Street, owned by Deisy Suarez, and Exclusive Motors on
                                                                               8   Venice Boulevard, owned by George Frem, both described infra, have customers
                                                                               9   declining to utilize their services due to nearby encampments. A recent article
                                                                              10   describes in detail Venice’s inability to keep pace with the property market due in
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                                                                              11   large part to the homelessness crisis. 91
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                                                                              12         56.    Nowhere is the impact felt more strongly than on Skid Row itself,
                                      LOS ANGELES, CA 90025




                                                                              13   where encampments are visibly choking out local property owners and
                                                                              14   businesses. Plaintiff Joseph Burk can no longer maintain tenants in his building
                                                                              15   and production companies are declining to work there due to the surrounding
                                                                              16   environment. He has been trying to sell the property but the offers he receives
                                                                              17   have been less than half of what other comparable properties receive in
                                                                              18   neighboring areas and even then buyers have dropped out of escrow due to
                                                                              19   concerns about the area. He has been trying to rent the property, but no one will
                                                                              20   rent it. He and his wife had been living there, but due to the conditions on the
                                                                              21   sidewalk outside his home, it is unlivable. He is now saddled with what should
                                                                              22   be a valuable building that is near-impossible to sell, rent, live in, or use for
                                                                              23
                                                                              24         90
                                                                                             Vivian Marino, Revitalization Projects Reawaken Downtown Los
                                                                                   Angeles, The New York Times (Mar. 5, 2019),
                                                                              25   https://www.nytimes.com/2019/03/05/business/revitalization-projects-reawaken-
                                                                                   downtown-los-angeles.html; Andrea Lo, How downtown Los Angeles made a
                                                                              26   stunning comeback, CNN.com (Feb. 16, 2017, 9:09 PM),
                                                                                   https://www.cnn.com/2017/02/15/architecture/downtown-la-revival/index.html.
                                                                              27          91
                                                                                             Katy McLaughlin, The Venice Real-Estate Market Is Unstoppable No
                                                                                   More, The Wall Street Journal (Mar. 4, 2021, 12:45 PM),
                                                                              28   https://www.wsj.com/articles/the-venice-real-estate-market-is-unstoppable-no-
                                                                                   more-11614879936
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                                                                               1   business purposes—all due to conditions outside his property that are beyond his
                                                                               2   control, but are directly within the City’s control.
                                                                               3         57.    Alliance member Lisa Rich’s family has owned commercial
                                                                               4   property in the Skid Row area for decades, but she is now having to heavily
                                                                               5   discount the rents she charges, repair at least one building damaged by fires at a
                                                                               6   cost of $80,000, and pay four times her prior premiums for fire insurance. These
                                                                               7   burdens have her considering abandoning all financial dealings in the area.
                                                                               8   Alliance member Mark Shinbane has difficulty hiring and retaining employees,
                                                                               9   has had to replace doors and fences, has to clean the perimeter of the building
                                                                              10   multiple times per day, and has had to hire additional staff to handle cleaning and
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                                                                              11   maintenance, all at economic cost. Plaintiff Harry Tashdjian has been forced to
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                                                                              12   spend over $100,000 on upgraded fire and security systems and pest control just
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                                                                              13   in the last few years while simultaneously losing customers due to the property’s
                                                                              14   surroundings.
                                                                              15   G.    The Homelessness Crisis Harms Society
                                                                              16         58.    The County, as the provider of last resort, has the obligation to
                                                                              17   “relieve and support all incompetent, poor, indigent persons, and those
                                                                              18   incapacitated by age, disease, or accident . . . when such persons are not
                                                                              19   supported and relieved by their relatives or friends, by their own means, or by
                                                                              20   state hospitals or other state or private institutions.” Cal. Welf. & Inst. Code §
                                                                              21   17000. The purpose animating section 17000 is to “provide for protection, care,
                                                                              22   and assistance to the people of the state in need thereof, and to promote the
                                                                              23   welfare and happiness of all of the people of the state by providing appropriate
                                                                              24   aid and services to all of its needy and distressed.” Cal. Welf. & Inst. Code §
                                                                              25   10000. The County is also the entity who oversees and implements Medi-Cal
                                                                              26   and now CalAIM and is under the obligation to provide mental and physical
                                                                              27   healthcare to all who qualify for MediCal (which is just about everyone who is
                                                                              28   experiencing homeless) but fails to do so. The “incompetent, poor, [and]

                                                                                                                34
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                                                                               1   indigent persons” are not being relieved and supported, nor is “protection, care,
                                                                               2   and assistance” being given to those who desperately need it. The result is
                                                                               3   readily observable: squalor, lawlessness, disease, and death.
                                                                               4   H.    The County is Wasting Crucial Funds that Could Alleviate this Man-
                                                                               5         Made Disaster
                                                                               6         59.    The County has squandered massive amounts of homelessness-
                                                                               7   related funds, using its substantial revenue from Measure H and state and federal
                                                                               8   funds together to fund homeless-relief projects which have no chance of
                                                                               9   achieving the goal for which they are intended. For the 2022-2023 fiscal year,
                                                                              10   the County is proposing a $38.5 billion budget, which includes a $532.6 million
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                                                                              11   “Homeless Initiative” spending plan, $466 million of which comes from Measure
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                                                                              12   H, and another $65.86 million came from the state. Measure H was described as
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                                                                              13   a tax voted for by county residents in 2017 to “fund mental health, substance
                                                                              14   abuse treatment, health care, education, job training, rental subsidies, emergency
                                                                              15   and affordable housing, transportation, outreach, prevention, and supportive
                                                                              16   services for homeless children, families, foster youth, veterans, battered women,
                                                                              17   seniors, disabled individuals, and other homeless adults.” 92 Of the 12 areas of
                                                                              18   homeless support articulated by Measure H and approved by the voters, LA
                                                                              19   County is unilaterally choosing to spend nearly all of its substantial funds (73.4
                                                                              20   percent) on permanent and interim housing, and very little on anything else. The
                                                                              21   LA County Homeless Initiative—which plans for and spends Measure H
                                                                              22   dollars—describes the focus of the spending plan as one “that significantly
                                                                              23   expands permanent and interim housing solutions and increasing funding for
                                                                              24
                                                                              25
                                                                              26
                                                                              27         92
                                                                                            Los Angeles County, California, Sales Tax for Homeless Services and
                                                                                   Prevention, Measure H, Ballotpedia.org (March 2017),
                                                                              28   https://ballotpedia.org/Los_Angeles_County,_California,_Sales_Tax_for_Homel
                                                                                   ess_Services_and_Prevention,_Measure_H_(March_2017).
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                                                                               1   local cities.”93 Yet that’s not what the voters approved: “mental health, substance
                                                                               2   use treatment, healthcare, education, and job training” don’t even make an
                                                                               3   appearance on the County’s Homeless Initiative budget, which instead includes
                                                                               4   line-items like “justice reform” which are not found in the voter-approved ballot.
                                                                               5   The Final Adopted Budget of the Department of Mental Health for FY 2021-
                                                                               6   2022 reported only $12.3 million of its allotted funds coming from Measure H
                                                                               7   which represents only 0.4 percent of DMH’s budget, and only 2.3 percent of
                                                                               8   Measure H funds. And there is nothing at all about substance abuse treatment.
                                                                               9   Measure H promised the voters real, significant services in specific areas that the
                                                                              10   public saw as valuable; once the County had the initiative locked, it took those
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                                                                              11   dollars and used them for whatever it wanted to. Such a bait-and-switch is not
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                                                                              12   only unlawful, but also an anathema to our democratic process.
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                                                                              13         60.    Los Angeles County’s Department of Mental Health (DMH) is also
                                                                              14   quite literally leaving money on the table by failing to apply for reimbursement
                                                                              15   for Mental Health Medi-Cal Administrative Activities (MH-MAA). Alameda
                                                                              16   County was able to increase its receipt of these funds by millions of dollars,
                                                                              17   whereas Los Angeles County’s claims actually decreased in the 2019-2020 year,
                                                                              18   barely taking advantage of this fee-for-service opportunity.94
                                                                              19         61.    And of DMH’s $3 billion budget, only 1 percent comes from the
                                                                              20   County itself, with the remaining funds coming from various taxes and grants.
                                                                              21   That 1 percent is the absolute minimum the County must do as a “maintenance of
                                                                              22   effort” to continue to receive state and federal funds. Which means out of the
                                                                              23   County’s nearly $40 billion general fund budget, only 0.1 percent is dedicated to
                                                                              24
                                                                                         93
                                                                                              The Los Angeles County Homeless Initiative, $532.6M Homeless
                                                                              25   Initiative Spending Plan for FY 2022-23 (May 17, 2022),
                                                                                   https://homeless.lacounty.gov/news/la-county-prepares-to-intensify-and-refocus-
                                                                              26   its-fight-against-homelessness-as-board-of-supervisors-approves-532-6m-
                                                                                   spending-plan-for-fy-2022-23/.
                                                                              27           94
                                                                                              Claudia Boyd-Barrett, As Need for Mental Health Care Surges, A
                                                                                   Funding Program Remains Underused, California Health Report (Feb. 9, 2021),
                                                                              28   https://www.calhealthreport.org/2021/02/09/as-need-for-mental-health-care-
                                                                                   surges-a-funding-program-remains-underused/
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                                                                               1   the Department of Mental Health. Given the massive crisis and lip-service desire
                                                                               2   to address that crisis, that sort of spending is both shameful and constitutionally
                                                                               3   deficient.
                                                                               4         62.    Since the passage of Measure H and its concomitant additional
                                                                               5   hundreds of millions of dollars for housing and services, the homeless population
                                                                               6   in LA County has risen from 57,794 to 66,436 (a 13 percent increase, as of the
                                                                               7   2020 point-in-time count). The problem is outpacing the solution and the County
                                                                               8   has failed to utilize the funds in a manner that would effectuate the goal. 95
                                                                               9   I.    LA County Is Failing to Meet its Statutory Mandate, Directly
                                                                              10         Resulting in the Death and Destruction on the Street of Los Angeles
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                                                                              11         63.    The County has failed to meet its statutory obligation to properly
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                                                                              12   administer and provide mental and healthcare services. 96 Outreach workers and
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                                                                              13   service providers report that drug rehabilitation treatment and accessible and
                                                                              14   appropriate mental health services are nearly impossible to come by. This is
                                                                              15   catastrophic news in light of California Policy Lab’s finding that 78 percent
                                                                              16   report mental health conditions and 75 percent report substance conditions. 97
                                                                              17         64.    The County Board of Supervisors recognizes the “minimum number
                                                                              18   of beds required to appropriately meet the [community’s mental health] need is
                                                                              19
                                                                              20
                                                                              21
                                                                              22
                                                                                         95
                                                                                             County of Los Angeles, County develops action plan for homelessness
                                                                              23   prevention (Dec. 16, 2019), https://homeless.lacounty.gov/news/county-
                                                                                   develops-action-plan-for-homelessness-prevention/ (approximately 133 people
                                                                              24   per day are finding some sort of housing, while an estimate 150 people per day
                                                                                   are entering homelessness); Erika D. Smith, In 2019, homelessness truly felt like
                                                                              25   a crisis in every corner of L.A., Los Angeles Times (Dec. 20, 2019, 3:00 AM),
                                                                                   https://www.latimes.com/california/story/2019-12-10/homeless-housing-crisis-
                                                                              26   los-angeles.
                                                                                          96
                                                                                             See Cal. Welf. & Inst. Code § 13000-13008; 14000 et seq., 5600 et seq.,
                                                                              27   and 17000    et seq.
                                                                                          97
                                                                                             See Rountree, supra note 8, https://www.capolicylab.org/wp-
                                                                              28   content/uploads/2019/10/Health-Conditions-Among-Unsheltered-Adults-in-the-
                                                                                   U.S.pdf.
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                                                                               1   50 public mental health beds per 100,000 individuals. In Los Angeles County
                                                                               2   there are only 22.7 beds per 100,000 individuals.” 98
                                                                               3         65.    The Department of Mental Health (DMH) conducted an
                                                                               4   investigation and issued a report that summarized the capacity issue:
                                                                               5                [There is a] serious deficit in LA County’s mental
                                                                                                health system of care. Our system is not delivering
                                                                               6                enough highquality mental health hospital services to
                                                                                                meet the need, and the effects of this deficit are dire:
                                                                               7                       • The Department of Health Services’ psychiatric
                                                                                                emergency rooms are severely overcrowded, with
                                                                               8                patients sometimes having to stay several days while
                                                                                                they wait for a hospital bed.
                                                                               9                       • On any given day, four to five thousand
                                                                                                individuals with serious mental illness and often
                                                                              10                cooccurring substance use disorder are incarcerated in
                                                                                                LA County justice systems and need care. Many of
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                                                                              11                their incarcerations could have been prevented entirely
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                                                                                                had they received needed treatment.
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                                                                              12                       • Roughly 25 percent of adult homeless
                                                                                                individuals in LA County have a serious mental illness
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                                                                              13                and need care. These individuals often cycle in and out
                                                                                                of hospitals and justice systems without ever being put
                                                                              14                on a sustainable path to recovery.
                                                                                                       • Readmission rates at our mental health
                                                                              15                hospitals are far too high. According to a recent
                                                                                                analysis by an outside consultant, our Medi-Cal fee-for-
                                                                              16                service hospital network in LA County has an average
                                                                                                30-day readmission rate of 37.8 percent. The national
                                                                              17                average is closer to 20 percent.
                                                                                                       • Too many clients are getting stuck in our
                                                                              18                hospitals because there aren’t enough post-hospital beds
                                                                                                and services. Waitlists to transition to the next level of
                                                                              19                care are long and getting longer, especially for hospital
                                                                                                clients on a mental health (LPS) conservatorship.
                                                                              20                Special populations, such as those who are currently or
                                                                                                formerly justice-involved, those with co-occurring
                                                                              21                substance use disorder or co-morbid physical health
                                                                                                conditions, those older than 65, and the
                                                                              22                developmentally disabled, are especially difficult to
                                                                                                place.
                                                                              23                       [. . . ]
                                                                                                       These experts come from different backgrounds
                                                                              24                and parts of the system, and they didn’t always agree on
                                                                              25
                                                                                         98
                                                                                             Motion By Supervisors Kathryn Barger and Hilda Solis, Addressing the
                                                                              26   Shortage of Mental Health Hospital Beds (Jan. 22, 2019),
                                                                                   http://file.lacounty.gov/SDSInter/bos/supdocs/131546.pdf; see also E. Fuller
                                                                              27   Torrey, M.D., Kurt Entsminger, J.D., et al., The Shortage of Public Hospital Beds
                                                                                   for Mentally Ill Persons: A Report of the Treatment Advocacy Center, Mental
                                                                              28   Illness Policy.org (2004-2005), https://mentalillnesspolicy.org/imd/shortage-
                                                                                   hospital-beds.html.
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                                                                                                the nuances of the problems or ideal solutions to
                                                                               1                address them. But there was general agreement on three
                                                                                                things:
                                                                               2                       • There is indeed a shortage of mental health
                                                                                                hospital services for those who truly need them.
                                                                               3                       • Creating new hospital beds is unlikely, on its
                                                                                                own, to resolve this shortage.
                                                                               4                       • The only way we can sustainably address this
                                                                                                problem is to look at the whole system of mental health
                                                                               5                beds and services, including those that play a role prior,
                                                                                                during, and after hospital stays, and address all of the
                                                                               6                factors (e.g. capacity and service quality) across this
                                                                                                continuum which in combination act to constrain the
                                                                               7                availability of mental health hospital beds.
                                                                               8
                                                                               9         66.    The report went on to identify “significant gaps in inpatient
                                                                              10   treatment beds, residential beds, shelter beds, and respite homes across all ages”
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                                                                              11   including an “estimate of 3,000 additional subacute beds needed,” “significant
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                                                                              12   gaps in assisting people when they are leaving inpatient care, especially for those
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                                                                              13   with co-occurring disorders,” “no SUD (substance use disorder) residential
                                                                              14   treatment for all ages,” “no local children’s inpatient psychiatric beds,” “not
                                                                              15   enough inpatient beds for patients eligible for conservatorship…with waiting
                                                                              16   periods of up to a year to access secure inpatient care, resulting in people being
                                                                              17   discharged to the street and perpetuating homelessness.” 99
                                                                              18         67.    Because of this considerable shortage, courts are unable to declare
                                                                              19   many persons conserved because there’s nowhere for them to go, and the system
                                                                              20   designed to address these issues is massively overburdened. At Olive View
                                                                              21   Hospital in north Los Angeles County, the 72-hour crisis ward often has over half
                                                                              22   of its 16 beds dedicated to patients waiting up to a year for a residential inpatient
                                                                              23   bed, leaving only a handful of other beds available for emergency 5150 holds;
                                                                              24   Olive View is the only crisis facility in north Los Angeles County and meant to
                                                                              25   serve millions of people. If a person is brought in while in crisis but there are no
                                                                              26
                                                                              27         99
                                                                                             Jonathan E. Sherin, Report Response to Addressing the Shortage of
                                                                                   Mental Health Hospital Beds (Item 8, Agenda of January 22, 2019), Department
                                                                              28   of Mental Health 30, 134 (Oct. 29, 2019),
                                                                                   http://file.lacounty.gov/SDSInter/bos/supdocs/132696.pdf.
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                                                                               1   beds for them, often they are released back on the street. This dynamic repeats
                                                                               2   itself throughout Los Angeles. The report goes on to document “limited access to
                                                                               3   urgent care for MH (mental health), SUD and services to people with co-
                                                                               4   occurring disorders at all levels of care,” “MH and SUD treatment is not
                                                                               5   integrated” (the so-called “silos of care”), and “to access care you have to ‘win
                                                                               6   the lottery,’ have a chronic level of need that requires hospitalization, or become
                                                                               7   incarcerated. Mild cases become severe while people are trying to connect to
                                                                               8   care.”100 Critically: “A lack of housing options contributes to homelessness.”101
                                                                               9   As of December, 2020, only 156 of the proposed (minimal pilot) 500 additional
                                                                              10   beds had been procured. 102
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                                                                              11         68.    As of 2018 the County had almost $1 billion in unused funds
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                                                                              12   allocated to it through the Mental Health Services Act (MHSA), and while there
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                                                                              13   has been some expenditure since, there has been no clarity about how much
                                                                              14   remains in the fund unspent. 103 According to data released earlier this year from
                                                                              15   the Mental Health Services Oversight and Accountability Commission—an entity
                                                                              16   run by the State of California—Los Angeles County’s MHSA account closing
                                                                              17   balance at the end of the FY 2020-2021 year was $1,040,422,091. 104 The County
                                                                              18   of Los Angeles identified the remaining funds at the end of the 2021-2022 fiscal
                                                                              19   year to be $537,463,000 plus a canceled obligated fund balance of $361,513,000
                                                                              20   for a total of $898,976,000.105 Of course some of that might be encumbered,
                                                                              21   which is unreported, but however the pie is sliced the resulting conclusion is the
                                                                              22
                                                                                         100
                                                                                             Id. at 135.
                                                                              23         101
                                                                                             Id. at 141.
                                                                                         102
                                                                                             Id. at 180-85.
                                                                              24         103
                                                                                              Thomas Curwen, With an epidemic of mental illness on the streets,
                                                                                   counties struggle to spend huge cash reserves, Los Angeles Times (Aug. 19,
                                                                              25   2018, 5:00 AM), https://www.latimes.com/local/california/la-me-mhsa-unspent-
                                                                                   balance-20180819-story.html.
                                                                              26          104
                                                                                              Mental Health Services Oversight and Accountability Commission,
                                                                                   Fiscal Transparency Dashboard, https://mhsoac.ca.gov/transparency-suite/fiscal-
                                                                              27   transparency-dashboard/.
                                                                                          105
                                                                                              County of Los Angeles, 2022-2021 Recommended Budget, Volume
                                                                              28   Two (April 2022), https://ceo.lacounty.gov/wp-content/uploads/2022/04/2022-
                                                                                   23-Recommended-Budget-Volume-II-Final-with-AC-Edit-Online-Version.pdf.
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                                                                               1   same: there are hundreds of millions of dollars available specifically for mental
                                                                               2   health treatment and residential facilities, yet year-after-year the County fails to
                                                                               3   utilize these funds for their intended purpose. And that money goes to waste
                                                                               4   while those desperate for treatment get sicker on the street.
                                                                               5         69.    The County points to the state’s antiquated and restrictive
                                                                               6   conservatorship laws and the Federal government’s refusal to permit Medicaid
                                                                               7   finances for mental health beds for facilities of more than 16 beds, both of which
                                                                               8   need to be addressed. Yet even under the existing scheme, help would be
                                                                               9   available to those who desperately need it, were there is sufficient capacity at all
                                                                              10   levels. Local courts could conserve many severely mentally ill persons who are
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                                                                              11   unable to care for themselves, were there sufficient beds available. The blame
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                                                                              12   for insufficient placement rests squarely on the County’s shoulders. And people
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                                                                              13   suffering from very serious mental diseases decline, living on the street instead,
                                                                              14   many of whom pay the ultimate price.106
                                                                              15         70.    Together, the County and City fund LAHSA, which has been totally
                                                                              16   ineffective at stemming the growing tide of homelessness. LAHSA takes
                                                                              17   direction from the City and the County. Among LAHSA’s shortcomings is the
                                                                              18   failure to move people up and out from emergency shelters and bridge shelters to
                                                                              19   permanent housing. The agency has been so disorganized, it apparently recently
                                                                              20   discovered 3,000 units they “didn’t know about” in their system. 107 An audit
                                                                              21   conducted by LA City Controller Ron Galperin found LAHSA outreach workers
                                                                              22   fell far short of their goals, placing only 4 percent of people assessed into
                                                                              23
                                                                              24
                                                                                         106
                                                                                              Dennis McDougal, Op-Ed: My daughter was murdered, but it was
                                                                              25   misguided mental health laws that put her in danger, Los Angeles Times (Jan.
                                                                                   26, 2020, 3:00 AM), https://www.latimes.com/opinion/story/2020-01-26/i-hope-
                                                                              26   police-catch-my-daughters-killer-but-i-know-her-mental-illness-also-played-a-
                                                                                   role-in-her-death.
                                                                              27          107
                                                                                              Elijah Chiland, Agency responsible for housing LA’s homeless
                                                                                   discovers 3,000 units it ‘didn’t know about, Curbed Los Angeles (Feb. 20, 2020,
                                                                              28   2:25 PM), https://la.curbed.com/2020/2/20/21145578/lahsa-units-homeless-
                                                                                   housing.
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                                                                               1   permanent housing and 14 percent into shelters, only 6 percent for SUD
                                                                               2   treatment and only 4 percent for mental health treatment.108
                                                                               3   J.     The County Has Not Proffered Workable Comprehensive Solutions
                                                                               4          71.    The State of California has transferred the responsibility for the
                                                                               5   social safety net directly onto the County’s shoulders, and provides money to
                                                                               6   accomplish that obligation. Indeed, the County spends vast sums of money but
                                                                               7   the result is an astonishing lack of progress in addressing the crisis, and continued
                                                                               8   expansion of the crisis despite such exorbitant expenditures, because the funds
                                                                               9   are being used in ways that will never solve nor even substantively address the
                                                                              10   problem.
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                                                                              11          72.    And so the crisis continues and accelerates, with little hope of a
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                                                                              12   resolution. Because of the painful results of current policies, and because of the
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                                                                              13   lack of political and bureaucratic will to undertake effective and proven means to
                                                                              14   combat it, the Plaintiffs are suffering under the weight of an urgent crisis.
                                                                              15   Plaintiffs are left with no choice but to resort to the courts for relief.
                                                                              16   K.     The City Has Stepped Up But the County Refuses To Do the Same
                                                                              17          73.    Plaintiffs filed this case in March, 2020, with the goal of aligning
                                                                              18   City and County efforts into one comprehensive approach to unsheltered
                                                                              19   homelessness in a manner which would at minimum triage the crisis to help
                                                                              20   people off the street and stay off the street, for the health and safety of both the
                                                                              21   housed and unhoused communities.
                                                                              22          74.    After two years, the City is now making significant efforts to
                                                                              23   ameliorate this crisis by entering into an agreement with the Plaintiffs to rapidly
                                                                              24   provide shelter and housing for the unhoused which is desperately needed, and
                                                                              25   judicial supervision for five years to make certain that goal is realized. It has also
                                                                              26
                                                                              27          108
                                                                                             Ron Galperin, LA Controller, Strategy on the Streets: Improving Los
                                                                                   Angeles Homeless Services Authority’s Outreach Program, Ron Galperin LA
                                                                              28   Controller (Aug. 28, 2019), https://lacontroller.org/audits-and-reports/strategy-
                                                                                   on-the-streets/#1566867736032-c107d667-baf7.
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                                                                               1   agreed to deadlines and mandates for creation of shelter and housing, as well as
                                                                               2   encampment engagement, cleaning, and reduction.
                                                                               3         75.   However, providing housing alone without supportive services to
                                                                               4   assist people experiencing homelessness address any underlying issues that
                                                                               5   caused or resulted from the person's homelessness, is not going to help the person
                                                                               6   stay housed. And some services—in particular clinical services such as mental
                                                                               7   health and drug rehabilitation treatment—are the sole province of the County and
                                                                               8   represent the most significant need for the homeless population.
                                                                               9         76.   As noted previously, California Policy Lab has reported that 78
                                                                              10   percent of unsheltered individuals suffer from mental health conditions, and 75
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                                                                              11   percent suffer from substance use, compared to 50 percent and 13 percent
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                                                                              12   sheltered individuals respectively.109 Recently the Policy Lab cross-referenced
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                                                                              13   records between LAHSA and DMH to discover that a full 10 percent of
                                                                              14   individuals who were unsheltered between 2019-2020 had been diagnosed with
                                                                              15   Psychotic Spectrum Disorder in the prior five years, and another 7 percent had
                                                                              16   been diagnosed with a serious mental illness.110 The LA Times reports that 67
                                                                              17   percent of homeless individuals suffer from mental illness or a substance
                                                                              18   disorder. 111 Addressing these two issues is crucial for helping people who have
                                                                              19   experienced homelessness to become healthy again. And only the County can do
                                                                              20   so.
                                                                              21         77.   Substance Use Disorder has been the number one driver of homeless
                                                                              22   deaths since the County Coroner’s Office began tracking the issue. In the 2020-
                                                                              23
                                                                                         109
                                                                                              See Rountree, supra note 8, https://www.capolicylab.org/wp-
                                                                              24   content/uploads/2019/10/Health-Conditions-Among-Unsheltered-Adults-in-the-
                                                                                   U.S.pdf.
                                                                              25          110
                                                                                              Colin Caprara, Dean Obermank, et al., Serious Mental Illness among
                                                                                   People who are Unsheltered in Los Angeles, California Policy Lab (May 2022),
                                                                              26   https://www.capolicylab.org/wp- /uploads/2022/05/Serious-Mental-Illness-
                                                                                   Among-People-who-are-      content Unsheltered-in-Los-Angeles.pdf.
                                                                              27          111
                                                                                              Doug Smith, Benjamin Oreskes, Are many homeless people in L.A.
                                                                                   mentally ill? New findings back the public’s perception, Los Angeles Times (Oct.
                                                                              28   7, 2019, 3:00 AM), https://www.latimes.com/california/story/2019-10-
                                                                                   07/homeless-population-mental-illness-disability.
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                                                                               1   2021 year (the latest Homeless Mortality Report to be released), homeless deaths
                                                                               2   surged 56 percent compared to the year before. Overdose deaths increased by a
                                                                               3   shocking 78 percent. County Supervisor Hilda Solis noted “The findings in this
                                                                               4   report reflect a true state of emergency on the streets across our County. In a civil
                                                                               5   society, it is unacceptable for any of us to not be profoundly disturbed by the
                                                                               6   shocking needs documented in this year’s homeless mortality report.” 112 Yet no one
                                                                               7   at the County—including Supervisor Solis—has responded as if in an emergency.
                                                                               8   Instead, it’s business as usual.
                                                                               9         78.    The County has the obligation to provide for mental health and
                                                                              10   substance use disorder treatment as mandated by California Welfare and
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                                                                              11   Institutions Code sections 5600 et seq., 13000 et seq., 14000 et seq. and 17000,
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                                                                              12   all of which together require counties to provide comprehensive residential and
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                                                                              13   non-residential mental health and substance use treatment. Yet the County fails
                                                                              14   to do its job at every step.
                                                                              15         79.    As Council President Martinez noted during the press conference
                                                                              16   announcing the City/LA Alliance settlement: “Mental healthcare, substance
                                                                              17   abuse treatment, outpatient rehab beds. That is the county's responsibility. We
                                                                              18   need you. We can't do this alone, and quite frankly, we shouldn't have to. . . . We
                                                                              19   need to prevent people from falling into homelessness because right now we're in
                                                                              20   triage mode. We need to focus on how to prevent the people from ending up on
                                                                              21   our streets. People need help. People need services, and that's how you fix the
                                                                              22   crisis. And what good is building housing if you can’t provide the services that
                                                                              23   people need? The county is the one with the $3 billion mental health department.
                                                                              24   What good is that if you’re not using it to help the most vulnerable, those that are
                                                                              25   living in our streets with mental health issues?” And as Councilmember DeLeon
                                                                              26
                                                                                         112
                                                                                             Christian Martinez, Rong-Gong Lin II, L.A. County homeless deaths
                                                                              27   surged 56% in pandemic’s first year. Overdoses are largely to blame, Los
                                                                                   Angeles Times (Apr. 22, 2022, 7:06 PM),
                                                                              28   https://www.latimes.com/california/story/2022-04-22/la-county-homeless-deaths-
                                                                                   surge-pandemic-overdoses.
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                                                                               1   summarized: “Those individuals suffering from severe mental illnesses and
                                                                               2   substance abuse will be the sole responsibility of the County because they always
                                                                               3   have been the sole responsibility of L.A. County.”
                                                                               4         80.    The picture that results is undeniable: the County has the obligation
                                                                               5   to provide mental health and substance use disorder treatment, it has the
                                                                               6   resources to do so, and its leaders have acknowledged it is failing in its obligation
                                                                               7   to provide that treatment and related services, and because of its abject failure,
                                                                               8   there is desperation and devastation on the streets.
                                                                               9                                 IV. THE PARTIES
                                                                              10                  PLAINTIFFS AND INDIVIDUALIZED HARMS
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                                                                              11         81.    LA ALLIANCE FOR HUMAN RIGHTS (the “Alliance”) is an
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                                                                              12   incorporated non-profit membership association consisting of a broad coalition of
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                                                                              13   Los Angeles stakeholders who understand that homelessness in LA is a human
                                                                              14   rights crisis and are working towards solutions to address the crisis and its related
                                                                              15   impact on health and safety issues throughout the region. Each of its members is
                                                                              16   a resident of Los Angeles City which is within Los Angeles County. All
                                                                              17   individual plaintiffs herein are members of the Alliance and the following are
                                                                              18   representative of the membership:
                                                                              19                a.     MARIA DIAZ is a Hispanic woman who was until recently
                                                                              20 living in a tent in Skid Row, where she had been for the last 5 years. Over the
                                                                              21 past five years, Ms. Diaz regularly witnessed individuals selling drugs, stealing
                                                                              22 belongings, and attacking others for no apparent reason. She has also seen a
                                                                              23 number of young women harassed, attacked, raped, and ultimately succumb to
                                                                              24 drug addictions due to the conditions of Skid Row. Harassment for women on
                                                                              25 Skid Row is a certainty, and Ms. Diaz herself experienced it. The trauma she has
                                                                              26 experienced while living on skid row has caused her pain, suffering, and
                                                                              27 psychological damage.
                                                                              28

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                                                                               1                 b.    CHESTINA EVANS is a Black woman who has lived on
                                                                               2   Skid Row for over a year. Ms. Evans has been mostly homeless after aging out
                                                                               3   of the foster care system. She did not have access to any transitional program
                                                                               4   and did not have any resources or know where to go, so she found herself
                                                                               5   homeless fighting for survival. Ms. Evans left the bay area for Skid Row because
                                                                               6   she believed there was more opportunity to receive resources and exit
                                                                               7   homelessness on Skid Row.
                                                                               8         Living on the streets in Skid Row has been incredibly hard for Ms. Evans.
                                                                               9   She is frequently assaulted and attacked. Soon after arriving in Skid Row, Ms.
                                                                              10   Evans was attacked by a homeless man. He wrongly accused her of taking his
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                                                                              11   belonging and hit her hard in the face, knocking her onto the ground. Ms. Evans
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                                                                              12   doesn’t feel she has any recourse; calling the police will have little consequence
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                                                                              13   since they rarely do anything about attacks on Skid Row. Ms. Evans has also
                                                                              14   been sexually assaulted while living on Skid Row by men who prey on women.
                                                                              15   Her time on the streets has exacerbated her severe mental health issues. She
                                                                              16   suffers from depression, anxiety, uncontrolled anger and fear, and paranoia.
                                                                              17   Perhaps most taxing is that despite whatever internal turmoil she feels, Ms. Evans
                                                                              18   feels like she cannot break down or address her emotions because showing
                                                                              19   weakness on the streets puts her life in danger. Ms. Evans has sought help for her
                                                                              20   mental health issues but continues to be stone-walled. She has accessed
                                                                              21   Department of Mental Health, but the wait times between appointments makes
                                                                              22   them completely useless. She needs a place where she can go that will address
                                                                              23   her mental health issues while inside. She does not think her mental health issues
                                                                              24   can possibly be addressed while living on the street. She takes illegal narcotics to
                                                                              25   try to treat her mental issues and to stay up all night because she fears attacks at
                                                                              26   night. Her behavior is erratic and unpredictable due to her mental illness and
                                                                              27   drug use.
                                                                              28

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                                                                               1         Ms. Evans has been in two shelters. She first stayed at the Union Rescue
                                                                               2   Mission but left for Weingart Center where she shared a room with another
                                                                               3   woman. She was asked to leave following an altercation with her roommate. Ms.
                                                                               4   Evans and her roommate argued over her roommate’s continued use of drugs in
                                                                               5   their shared living space, as well as her use of loud music at all hours. At the time
                                                                               6   she was trying to stop taking drugs, and her roommate’s continued use of
                                                                               7   narcotics made that impossible. She has been told she has a “dual diagnosis” of
                                                                               8   serious mental illness and drug addiction, but she doesn’t even remember which
                                                                               9   one came first. She would love an opportunity to stay at another shelter, but she
                                                                              10   knows that without addressing her underlying mental health issues she won’t be
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                                                                              11   successful. She can’t control herself and will get in trouble. She needs a place
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                                                                              12   where she can also address her ongoing serious mental health issues at the same
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                                                                              13   time. Ms. Evans’ experience living on the streets has caused her physical,
                                                                              14   emotional, and mental harm.
                                                                              15                c.     SHINAE OWSLEY is a Black woman recently homeless and
                                                                              16   unsheltered in Skid Row. She is originally from South Central and after high
                                                                              17   school attended California State Dominguez Hills. Unfortunately, her serious
                                                                              18   mental health issues lead to drug abuse, which led to prison. Ten years ago, Ms.
                                                                              19   Owsley was released from prison. Following her release, Ms. Owsley began
                                                                              20   receiving SSI for her anxiety and other mental health concerns. Ms. Owsley is a
                                                                              21   hard worker and seeks to get off SSI soon. And she recognizes that having
                                                                              22   reliable shelter is essential to this goal. Ms. Owsley has had a difficult time
                                                                              23   living on Skid Row. She is sexually harassed by men regularly and was recently
                                                                              24   attacked by another female. She witnesses crime and violence daily and is
                                                                              25   terrified of living in the streets. She wants to get clean and sober, but it is
                                                                              26   impossible to do so while living unsheltered in Skid Row. She needs help but has
                                                                              27   no idea where to start. Since she has lived on Skid Row, not a single social
                                                                              28   worker or County or City worker has approached Ms. Owsley offering to assist

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                                                                               1   her in obtaining services or housing. If she had the opportunity for shelter
                                                                               2   anywhere, she would jump at that opportunity. But she knows that she
                                                                               3   desperately needs treatment as well.
                                                                               4                 d.     CHRISTOPHER ROPER is a Black man living in Skid
                                                                               5   Row. He has been homeless for two years. He has a traumatic brain injury, so it
                                                                               6   is hard to keep a job. He first began experiencing homelessness when he lost his
                                                                               7   job and was unable to pay his rent. Before living in Skid Row he lived in Long
                                                                               8   Beach, Santa Monica, and Venice. He eventually made his way to Skid Row
                                                                               9   because he knew resources for those experiencing homelessness were supposed
                                                                              10   to be available there, like food and showers. Homelessness has been hard for Mr.
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                                                                              11   Roper physically and mentally. He does not have a tent and sleeps directly on the
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                                                                              12   street, exposed to the elements. He is freezing during the winter and it affects his
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                                                                              13   health. Living on Skid Row has exacerbated his brain injury, which he first
                                                                              14   suffered in 1992. A side effect of that trauma is a shortened memory, which has
                                                                              15   only worsened since living in Skid Row. He can’t keep track of his paperwork
                                                                              16   and loses things often, which makes it more difficult to get shelter and services.
                                                                              17   But there is no one to help him. Mr. Roper also suffers from depression and
                                                                              18   anxiety which is so much worse in Skid Row due to the horrific environment. He
                                                                              19   tries to stay away from the violence and fires, but he sees it often. He is hopeful
                                                                              20   that the Department of Mental Health will help him find housing, so he keeps
                                                                              21   asking but is told it isn’t available.
                                                                              22                 e.     MILTON MILES SMITH is a sixty-year-old unhoused
                                                                              23   Black male living in Skid Row. Mr. Smith was born and raised in the Hollywood
                                                                              24   area. Mr. Smith has been living in Skid Row since 2018 after being released
                                                                              25   from prison. After initially becoming homeless, Milton went to The Center in
                                                                              26   Hollywood. He met his friend Albert Albarran at The Center. They eventually
                                                                              27   made their way to Skid Row together to try to get housing. Mr. Smith is on SSI.
                                                                              28   While in prison, Mr. Smith was attacked, and his lung almost collapsed.

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                                                                               1         Mr. Smith has several mental health issues including post-traumatic stress
                                                                               2   disorder, schizophrenia, paranoia, anxiety, and a learning disability. He is scared
                                                                               3   every day that he is forced to stay on the streets. He is afraid that if he sleeps at
                                                                               4   night he will be killed. He sometimes takes drugs to deal with the stress and to
                                                                               5   keep himself awake, but he does not like using drugs and is trying to stop. It's
                                                                               6   impossible for him to address his substance use disorder or mental health issues
                                                                               7   while unhoused in Skid Row.
                                                                               8                f.     ALBERT ALBARRAN is a Hispanic male currently living
                                                                               9   in an SRO called Rainbow Apartments, located in Skid Row. His friend, Milton
                                                                              10   Miles Smith, helped him apply for and secure this housing. Albert was
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                                                                              11   previously homeless. He met his friend Mr. Smith at The Center in Hollywood,
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                                                                              12   they both eventually came to Skid Row because there are more opportunities for
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                                                                              13   housing in this area. He does not feel safe living in Skid Row and wants to leave
                                                                              14   but does not have an opportunity anywhere else.
                                                                              15         Mr. Albarran has several physical issues that began after he was hit by a
                                                                              16   car when he was fifteen years old. He suffered a traumatic brain injury which has
                                                                              17   resulted in a short-term memory issue and has a metal rod in his leg. This
                                                                              18   memory problem increases his danger living in Skid Row, as Mr. Albarran often
                                                                              19   forgets what street he lives on and is terrorized by gangs and violent drug users in
                                                                              20   the area. The stress of living in Skid Row has also made his short-term memory
                                                                              21   issue worse. Mr. Albarran suffers from depression, post-traumatic stress
                                                                              22   disorder, and anxiety. Despite these physical and mental problems, Mr. Albarran
                                                                              23   was cut-off from mental health services because he was deemed “too high-
                                                                              24   functioning.”
                                                                              25                g.     MARK SHINBANE is the President and part-owner of Ore-
                                                                              26   Cal Corporation which is a family-owned business in the Skid Row area. He has
                                                                              27   also been the Chairman of Central City East Association (CCEA) for several
                                                                              28   years. Ore-Cal Corporation is an international seafood importer, processor, and

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                                                                               1   distributor. It is a second-generation family-owned-business and they have
                                                                               2   owned property in the general area since 1961. Ore-Cal has been located on 634
                                                                               3   Crocker Street since 1971. Four years ago, Crocker Street and other streets in
                                                                               4   that vicinity—such as 6th Street, 7th Street and Towne Avenue—were clear. Mr.
                                                                               5   Shinbane recalls small homeless encampments west of San Pedro Street on San
                                                                               6   Julian Street and Wall Street in the past, but personal possessions were generally
                                                                               7   kept contained, crime was generally addressed, and the sidewalks were usable.
                                                                               8         In 2016, immediately after the injunction issued in Mitchell v. City of Los
                                                                               9   Angeles, the neighborhood surrounding Ore-Cal rapidly filled with tents and
                                                                              10   encampments, inundating the area, which coincided with an increase in violence
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                                                                              11   and an inability to traverse the sidewalks. Individuals loiter at all times of the
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                                                                              12   day, and the encampments block sidewalks, doorways, driveways, and streets.
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                                                                              13   Mr. Shinbane regularly observes open drug use and people walking in a perpetual
                                                                              14   drug-induced state, and bodies lying on the sidewalks or doorways near his
                                                                              15   building. There has been an increase of used needles on the streets, sidewalks,
                                                                              16   and inside drains located on the business’ property.
                                                                              17         Mr. Shinbane’s conversations with LAPD officers and detectives in the
                                                                              18   area indicate that gang members are supplying narcotics to homeless individuals
                                                                              19   in the vicinity. Mr. Shinbane and his employees now deal with the inability to
                                                                              20   traverse the sidewalks. Encampments often block sidewalks, doorways,
                                                                              21   driveways, and streets. Illegal entry onto their property, car break-ins, and thefts
                                                                              22   are now a common occurrence.
                                                                              23         Ore-Cal and its employees are subject to an increased risk of fire because
                                                                              24   of the encampment fires that surround the property. This danger is made worse
                                                                              25   by the huge quantities of trash and debris that litter their street and surrounding
                                                                              26   neighborhood. These conditions have made it difficult to hire new workers and
                                                                              27   they have lost many well-qualified candidates (approximately 30 percent) due to
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                                                                               1   the nature of the neighborhood and environment. This makes the hiring process
                                                                               2   longer, and more difficult than it ever used to be.
                                                                               3         To combat some of the deteriorating conditions, Mr. Shinbane’s business
                                                                               4   has completely fenced its property to prevent individuals from camping on their
                                                                               5   grounds and to keep the used needles from the rampant narcotics use from being
                                                                               6   fed into their exterior drains. Mr. Shinbane was forced to replace roll up doors
                                                                               7   and add sections of fence due to individuals constantly urinating on them, a cost
                                                                               8   of $25,000.
                                                                               9         Ore-Cal has also had to significantly increase its exterior maintenance by
                                                                              10   washing and sanitizing the perimeter of their facility daily. In some cases, it is
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                                                                              11   necessary to clean multiple times a day to maintain cleanliness. He now spends
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                                                                              12   $15,000 a year—a new expense—on supplies and staff dedicated to maintaining
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                                                                              13   the perimeter and external areas of their facility.
                                                                              14                 h.    HAL BASTIAN, a commercial real estate professional in Los
                                                                              15   Angeles for 38 years and has been one of the leaders of the Downtown Los
                                                                              16   Angeles Renaissance for the last 27 years. From 2001 to 2014, he served as the
                                                                              17   Director of Economic Development for the Downtown Center Business
                                                                              18   Improvement District (DCBID), and eventually, its Executive Vice President.
                                                                              19   During this time, Mr. Bastian facilitated the construction of over 22,000 housing
                                                                              20   units, leading tours and producing special events that recruited thousands of new
                                                                              21   residents and resulted in the construction of dozens of new commercial and
                                                                              22   mixed-used developments, and attracting over 300 new businesses to the
                                                                              23   downtown area, including Ralphs, Fresh Fare, Bottega Louie and Whole Foods
                                                                              24   Market. He lives in Downtown Los Angeles.
                                                                              25         Mr. Bastian’s extensive experience in Downtown Los Angeles has made it
                                                                              26   clear to him that both action and inaction by the City has been a substantial
                                                                              27   contributing factor in the current homelessness crisis. In particular, the City’s
                                                                              28   response to a series of federal lawsuits has coincided with this crisis, which

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                                                                               1   affects the homeless and housed alike, and he joins this lawsuit to bring about a
                                                                               2   substantial change in the deteriorating conditions of Downtown Los Angeles.
                                                                               3                i.    LISA RICH owns several buildings in Skid Row, which she
                                                                               4   rents out to various businesses. Her family has been running the properties for
                                                                               5   over 40 years and has brought significant numbers of jobs to the area. Over the
                                                                               6   past several years, the number of homeless persons on the sidewalk in front of the
                                                                               7   buildings has dramatically increased, as has the amount of personal possessions.
                                                                               8   Frequently, tents and belongings block the sidewalks for days at a time, bringing
                                                                               9   with them refuse, criminal activity, and unhygienic conditions. At times, the
                                                                              10   buildup of property has physically prevented tenants and patrons from accessing
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                                                                              11   the buildings. Tenants have complained and requested rent reductions due to the
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                                                                              12   effect the homeless encampments are having on their business. Recently a
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                                                                              13   mobile lab engaged by her environmental consultants refused to come to the
                                                                              14   properties due to the danger of the area.
                                                                              15         Ms. Rich attempted twice to contact LAPD for assistance in moving the
                                                                              16   property but received no help. When she asked why LAPD had not moved
                                                                              17   homeless persons or their property, she was informed that there was nothing
                                                                              18   LAPD could do. After learning the City would not help, Ms. Rich attempted to
                                                                              19   install fencing around some of her higher risk properties to keep tents from being
                                                                              20   propped directly against the buildings. But the City warned her that the fencing
                                                                              21   was unlawful and would lead to fines. Before she could remove the fencing at
                                                                              22   issue, an unknown person or entity removed the chain link, and tents returned,
                                                                              23   gathering around the bare fence poles.
                                                                              24         In late 2017, a fire at a homeless encampment burned out of control and set
                                                                              25   one of Ms. Rich’s buildings on fire. The blaze significantly damaged the
                                                                              26   building’s offices and electrical system, requiring more than $80,000 worth of
                                                                              27   repairs. The fire and repair process disrupted her tenant’s business for significant
                                                                              28   time. At her next policy renewal period, her fire insurer refused to renew the

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                                                                               1   policy covering all of her buildings, claiming her buildings could no longer be
                                                                               2   insured because of the risks posed by the adjacent homeless encampments. Ms.
                                                                               3   Rich then approached 24 other insurers—of those, 23 insurers outright refused to
                                                                               4   insure her buildings at any rate. Eventually, one insurer offered to cover her
                                                                               5   buildings at a premium more than four times her original rate. As a result of
                                                                               6   these developments, she is actively considering selling her family’s business and
                                                                               7   abandoning the Skid Row area.
                                                                               8                j.    Robert P. 113 is an unsheltered Black man living in Skid Row.
                                                                               9   He was born in Los Angeles, California, and prior to becoming homeless had a
                                                                              10   successful career, and had a family and a house in Carson. He lost his job due to
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                                                                              11   downsizing, and ended up holding a number of dead-end jobs and eventually lost
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                                                                              12   his home. After several brushes with the law, made worse by his mental illness,
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                                                                              13   he became homeless and came to live on the streets of Skid Row. He has been
                                                                              14   diagnosed with paranoid schizophrenia and has been told he has “dual diagnosis”
                                                                              15   of paranoid schizophrenia and substance use disorder.
                                                                              16         His mental health issues are a defining point of his homelessness. He
                                                                              17   needs more than just shelter; he needs shelter and treatment. He is afraid that
                                                                              18   going into a shelter without receiving proper treatment, would result in him
                                                                              19   hurting someone or himself. He suffers from anger issues that he cannot control
                                                                              20   and that build up and eventually explode. He has tried to seek help but the
                                                                              21   institutions that provide the much-needed services, including mental health
                                                                              22   treatment and drug rehabilitation treatment, had to close due to lack of financial
                                                                              23   support. Without proper medications, he tries to treat his mental illness with
                                                                              24   alcohol or other drugs that he can get.
                                                                              25         Despite his own serious issues, he goes out of his way to help other people,
                                                                              26   especially unsheltered women who are vulnerable and in severe danger in Skid
                                                                              27
                                                                              28         113
                                                                                             Robert’s full last name has been redacted for privacy due to the public
                                                                                   nature of this filing.
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                                                                               1   Row. When volunteers distribute donations and hygiene products, he asks for
                                                                               2   products for women first because he finds they are largely ignored. Mr. Porcha’s
                                                                               3   schizophrenia makes being homeless more difficult, as interacting with people is
                                                                               4   hard for him. He believes that people are involved in conspiracies and that they
                                                                               5   are watching him. Mr. Porcha would like to obtain housing, but he knows that he
                                                                               6   would not be successful without treatment. He will “regress” which he describes
                                                                               7   as all his issues facing him at once.
                                                                               8         82.    JOSEPH BURK owns a significant building utilized for a company
                                                                               9   he created called Location 606, Inc. His property is primarily rented for film,
                                                                              10   television, commercial and music video production. Until 2017, he rented part of
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                                                                              11   the property to tenants, but since then, due to the conditions in the area, he could
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                                                                              12   not find a tenant to occupy the property and moved in along with his wife. After
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                                                                              13   his wife became pregnant with their child, they decided to move out of the
                                                                              14   property for their safety and mental well-being. Mr. Burk is regularly at the
                                                                              15   property and remains apprised of and impacted by the situation, and the
                                                                              16   challenges it presents, surrounding his property.
                                                                              17         83.    He pays property taxes but cannot use the public sidewalks around
                                                                              18   his own property. Mr. Burk’s residence became unlivable due to surrounding
                                                                              19   conditions, and his business has been destroyed. Production companies have
                                                                              20   stopped using his building for film shoots, and he has gotten countless rejection
                                                                              21   emails and letters citing the conditions around his property. He has lost hundreds
                                                                              22   of thousands of dollars because production companies cannot use Mr. Burk’s
                                                                              23   property because they need accessible driveways and sidewalks for heavy
                                                                              24   equipment, lighting and sound items, and costume trucks, and the exits and
                                                                              25   entrances to his property are often fully blocked by shelters and possessions. On
                                                                              26   at least one occasion when his property was to be used for filming, the crew was
                                                                              27   unable to bring their equipment inside his building and demanded its money
                                                                              28   back. His property has been on the market for years without an acceptable offer,

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                                                                               1   and he has experienced a significant decline in his own quality of life because of
                                                                               2   the increased filth, violence, and drug use in the surrounding areas.
                                                                               3         84.    Since his tenants moved out, Mr. Burk has struggled to find a full-
                                                                               4   time tenant for the property. People are not interested in renting his property as a
                                                                               5   home or living space because of the surrounding area. LAPD officers have told
                                                                               6   Mr. Burk that they have been instructed by their superiors not to ask homeless
                                                                               7   individuals to move their belongings from the sidewalks or from his property.
                                                                               8   Because of this, when he has asked people to move their belongings from
                                                                               9   blocking the entrance to his home, he has been threatened, spit on, and verbally
                                                                              10   attacked. Weekly, he witnesses public sex, prostitution, and/or nudity on 6th
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                                                                              11   Street and Crocker Street. His security cameras often catch violent encounters,
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                                                                              12   including shootings and other murders, right across the street from the building.
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                                                                              13   In the last two months his property was broken into with thousands in equipment
                                                                              14   stolen, he has paid more money to upgrade his system, and had another attempted
                                                                              15   break-in but the new alarms, barricaded doors, and additional security camera
                                                                              16   thwarted the theft. Recently a man from an adjacent tent random began throwing
                                                                              17   bricks at his building which broke 6 windows. On Sunday July 3,, 2022, a person
                                                                              18   was murdered in a tent across the street by rival drug dealers. On July 6, 2022, a
                                                                              19   woman who sleeps outside his property was beaten and robbed, including her
                                                                              20   new wheelchair. There is no end to the atrocities committed and experienced
                                                                              21   right outside his door.
                                                                              22         85.    The building across from him has caught on fire from a homeless
                                                                              23   encampment’s open flame five times in the last year. He was dropped by several
                                                                              24   insurance companies and was declined new insurance on multiple occasions. He
                                                                              25   was without insurance for two months before he finally found a non-admitted
                                                                              26   insurance company to insure his property, at significantly higher cost than
                                                                              27   buildings in other areas of Downtown. He has difficulty receiving mail or
                                                                              28   packages. The mail carrier will not deliver his mail if his mailbox is blocked and

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                                                                               1   will not get out of his truck to deliver mail or packages to his front door because
                                                                               2   he has said it is not safe. Food delivery services will no longer deliver food to his
                                                                               3   property after dark. Rideshare drivers such as Lyft or Uber refuse to pick up or
                                                                               4   drop off there.
                                                                               5         86.    Every day he finds used needles on the sidewalks and on his
                                                                               6   property. Clothes and trash are thrown over his fence and onto his property daily.
                                                                               7   On days when the sidewalks around his property are clear, support groups use the
                                                                               8   sidewalk to hand out food and clothing which results in mounds of trash being
                                                                               9   left behind. His property fence is regularly used as a restroom since there are
                                                                              10   minimal facilities for the number of people living in front of his property. He
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                                                                              11   must make sure the urine and feces are washed off his property on a daily basis.
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                                                                              12   The unmanaged urine and feces on his property, as well as the rat and bug
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                                                                              13   infestations, create significant health risk. His fence has been damaged from
                                                                              14   people pushing large bulky items, such as a couch and a refrigerator, against it
                                                                              15   and tying tents and tarps to it. Most days he cannot use the sidewalk around his
                                                                              16   building and the entrances to his property have been blocked by debris.
                                                                              17         87.    The conditions around his property have worsened beyond his
                                                                              18   control, and he can no longer invite friends or family to his property, or
                                                                              19   reasonably enjoy and use his property.
                                                                              20         88.    Mr. Burk has been trying to sell the property since early 2018.
                                                                              21   There have been several interested buyers, yet the property has not sold, as the
                                                                              22   conditions surrounding the building and the recent and widely reported typhus
                                                                              23   and hepatitis outbreaks in the area have scared off potential buyers. His property
                                                                              24   has dropped out of escrow multiple times. All potential buyers have cited the
                                                                              25   dangerous conditions on the surrounding streets and sidewalks as the reason they
                                                                              26   would not purchase the property.
                                                                              27         89.    GEORGE FREM owns a luxury auto-shop in Mar Vista California,
                                                                              28   which primarily services high-end vehicles. In 2015, a few homeless individuals,

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                                                                               1   and others who were not homeless but pretended to be to sell narcotics, set up
                                                                               2   tents under the 405 freeway adjacent to his business. Since then, the population
                                                                               3   of the encampment has continually increased, and he currently estimates that
                                                                               4   more than 80 people live there. The residents have brought a variety of goods
                                                                               5   with them including tents, mattresses, wardrobes, and more. The encampment
                                                                               6   effectively fully covers the sidewalk on one side of the road, and the other side of
                                                                               7   the same street—controlled by Culver City—is now completely blocked as well.
                                                                               8   Mr. Frem now sees drug use, prostitution, violence, and public indecency on a
                                                                               9   regular basis.
                                                                              10         90.     Additionally, a few times a week LAHSA representatives set up a
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                                                                              11   mobile help desk, food giveaway station, and/or mobile shower station (where
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                                                                              12   the City built a special mobile shower drainage system) directly in front of Mr.
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                                                                              13   Frem’s business, resulting in lines of people on the sidewalk for hours as they
                                                                              14   wait for the showers to be available. When this occurs, customers frequently
                                                                              15   question whether their vehicles are safe in the lot and whether they will be stored
                                                                              16   inside overnight.
                                                                              17         91.     There have been shootings under the bridge multiple times, at least
                                                                              18   three were caught on Mr. Frem’s security video: July 26, 2018, April 1, 2019,
                                                                              19   and October 14, 2020. In just the last two years there have been seven separate
                                                                              20   fires under or near the bridge: October 28, 2020, December 27, 2020, January 20,
                                                                              21   2021, April 16, 2021, April 29, 2021, May 10, 2021, and May 22, 2021. Below
                                                                              22   is a single photograph that shows the horror and danger to life and property when
                                                                              23   people live, cook, and try to warm themselves in places not made for human
                                                                              24   habitation. That risk grows even greater when considering the criminal element
                                                                              25   that preys on the vulnerable and often, sadly, intentionally light fires in revenge
                                                                              26   or madness:
                                                                              27
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                                                                              13         92.    Before the encampment was in place in 2015, Mr. Frem received
                                                                              14   significant business from studios wanting to rent his location or other auto shops
                                                                              15   who would sub-contract to him for repairs. The encampment and related activity
                                                                              16   caused those shops to doubt the safety of their vehicles while at Mr. Frem’s shop,
                                                                              17   and has caused them to stop using him for sub-contract work. Prior to 2015, Mr.
                                                                              18   Frem would get significant walk-in business from his prime location on a major
                                                                              19   arterial road, but now long-time customers tell Mr. Frem that they do not feel safe
                                                                              20   picking up their vehicles late at night and potential customers turn away when
                                                                              21   they see the conditions outside of the shop.
                                                                              22         93.    This has decreased the number of service orders the shop has every
                                                                              23   year since the encampment arose. Before the encampment was in place, Mr.
                                                                              24   Frem’s shop consistently showed an increase of repair orders and performed over
                                                                              25   1000 repairs per year. But the numbers have declined year on year, and now, the
                                                                              26   shop draws less than 50 percent of repair order jobs compared to 2013.
                                                                              27         94.    WENZIAL JARRELL is a Black man who has been homeless and
                                                                              28   living on Skid Row for the past several years. Prior to becoming homeless, Mr.

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                                                                               1   Jarrell served in the Air Force, including 8 years in Iraq, before getting injured in
                                                                               2   combat. As a result of his service, he now suffers from post-traumatic stress
                                                                               3   disorder (“PTSD”), which causes him great distress and prevents him from
                                                                               4   entering a congregate shelter where he cannot be around a lot of people. Living
                                                                               5   on the streets with his issues is incredibly difficult. The area is violent, he hears
                                                                               6   gun shots often and it triggers his PTSD. He has physical injuries as a result of
                                                                               7   his service which are exacerbated by living on the street.
                                                                               8         95.    Mr. Jarrell came to Skid Row after the death of his first wife because
                                                                               9   he was told he could find housing and services there. But Mr. Jarrell has yet to
                                                                              10   receive either housing or services. The health benefits, general relief, and food
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                                                                              11   stamps he received upon his arrival stopped because a person who he thought
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                                                                              12   was a County worker asked him to sign a contract, and his identity was
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                                                                              13   subsequently stolen. The process for obtaining services he needs like SSI,
                                                                              14   general relief, and mental health treatment is arduous and he is frequently told to
                                                                              15   wait, come back later, or that he must contact someone different. These
                                                                              16   complications to getting services are incredibly frustrating and due to his PTSD
                                                                              17   causes him to withdraw, preventing him from completing the application process
                                                                              18   and frustrating his prior efforts. He is eligible for SSI and a veteran affairs
                                                                              19   (“VA”) pension, but due to his identity theft issues he hasn’t been able to work
                                                                              20   through the barriers to receiving it. He often feels hopeless and like it is not even
                                                                              21   worth trying. For months at a time, he accepts that he will never leave Skid Row
                                                                              22   and find a better life for him and his second wife, with whom he shares a tent.
                                                                              23         96.    Mr. Jarrell’s search for help has been further complicated by how
                                                                              24   functional he is and how well he has adapted to being homeless. In his
                                                                              25   experience, services are reserved for those suffering from severe addiction or
                                                                              26   mental or physical health issues. He finds he is not “homeless enough” or “sick
                                                                              27   enough” and gets put in the back of the line for help. Because he can manage his
                                                                              28   often-debilitating PTSD and does not have a severe drug addiction or physical

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                                                                               1   health issue, he has a much harder time getting help. Mr. Jarrell is frustrated that
                                                                               2   the City’s and County’s focus is on those in the direst circumstances, leaving
                                                                               3   him, and many others like him, who are most likely to escape homelessness,
                                                                               4   without help or services.
                                                                               5         97.    Mr. Jarrell has witnessed first-hand how hard it can be to obtain
                                                                               6   services even when a person visibly needs help. For example, Mr. Jarrell once
                                                                               7   came across a 19-year-old girl who was blind, walking the streets of Skid Row.
                                                                               8   It was clear to Mr. Jarrell that she would not be able to survive on Skid Row, so
                                                                               9   he brought her to a county social worker that he knows. The county services
                                                                              10   worker initially told him there was nothing they could do for the girl. Mr. Jarrell
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                                                                              11   demanded to speak with the county manager’s supervisor and subsequently
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                                                                              12   learned that the worker was incorrect and should have been providing help to the
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                                                                              13   girl. For Mr. Jarrell, this experience demonstrates two things. First, that many
                                                                              14   homeless people on Skid Row are unable to attain the services they need due to
                                                                              15   their own limitations and the complicated system that the City and County have
                                                                              16   designed. Second the workers running these systems are often barriers rather
                                                                              17   than facilitators of the care that individuals living on Skid Row need.
                                                                              18         98.    Mr. Jarrell was living on Skid Row during the Covid-19 crisis. It
                                                                              19   was months before anyone from the city informed Mr. Jarrell and others about
                                                                              20   the pandemic or how to protect themselves. As a result, Covid-19 moved quickly
                                                                              21   through the homeless population while little to no aid was offered. He saw many
                                                                              22   people sick, coughing, and even dying. As a population, they felt ignored, and it
                                                                              23   was clear that the rate of sickness and death far exceeded what was being
                                                                              24   reported. This experience exemplified how little the City and County care about
                                                                              25   a population that is already struggling just to survive.
                                                                              26         99.    These examples paint a picture of what life on Skid Row is like.
                                                                              27   Services are regularly denied or terminated for unreasonable or unrelated issues.
                                                                              28   The workers responsible for this irrational behavior are not held accountable,

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                                                                               1   sweeping the issues under the rug to avoid blame and responsibility. Individuals,
                                                                               2   like Mr. Jarrell, were directed to Skid Row with promises of assistance and
                                                                               3   services, but instead they are turned away and abandoned; left to get worse
                                                                               4   instead of better.
                                                                               5          100. The services that are provided (frequently by private organizations)
                                                                               6   fail to stop homelessness itself. While Mr. Jarrell appreciates the food, clothes,
                                                                               7   tents, and other provisions provided, these items do little to help him get off the
                                                                               8   streets. While these provisions make life on the street more comfortable, they do
                                                                               9   not provide a stable housing environment.
                                                                              10          101. He has tried sleeping in congregate shelters when he’s been able to
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                                                                              11   get a bed, but due to his experiences in Iraq, his PTSD worsens when he is
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                                                                              12   surrounded by large numbers of people. A couple times he has been able to find
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                                                                              13   individual housing, but it’s only for single people and he does not want to be
                                                                              14   separated from his wife who he cares for, and who cares for him. And under no
                                                                              15   circumstances will he leave his wife alone in Skid Row. It is far too dangerous.
                                                                              16          102. Mr. Jarrell is a selfless, caring individual who works hard to help
                                                                              17   others get out of the black hole that is Skid Row. He prioritizes helping those
                                                                              18   who he thinks clearly do not belong, or should have a home to go back to,
                                                                              19   because he does not want them to get attacked or left to fend for themselves.
                                                                              20   According to Mr. Jarrell, there is nothing worse than getting stuck in the system
                                                                              21   of Skid Row and realizing you cannot escape. If he were able to get a stable
                                                                              22   housing environment with any semblance of personal space, he would jump at
                                                                              23   the opportunity, but it needs to come with mental health treatment or he will not
                                                                              24   be successful. Mr. Jarrell knows he is more likely to die because he lives on Skid
                                                                              25   Row.
                                                                              26          103. CHARLES MALOW has been living at Union Rescue Mission,
                                                                              27   within the Skid Row area, since 2012. Prior to 2008, he worked as a garage door
                                                                              28   installer for 29 years, and from 2000 to 2006 he worked part-time as a security

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                                                                               1   guard. He became homeless in 2008 when the economy crashed. From 2010 to
                                                                               2   2012, he lived on the streets of Glendora, California. In the winter of 2011 and
                                                                               3   2012, he stayed at a Glendora Winter Shelter and then decided to seek help at the
                                                                               4   Union Rescue Mission (“URM”) located on 545 San Pedro St., Los Angeles, CA
                                                                               5   90013. When he first arrived at URM in 2012, police officers would come by in
                                                                               6   the morning, and wake-up the people sleeping on the streets. They were required
                                                                               7   to pack up their belongings and stow them, so the sidewalks were not blocked.
                                                                               8   This also allowed illegal activity such as narcotics and weapons sales to be more
                                                                               9   easily discovered and therefore addressed. At that time, there were no tents in
                                                                              10   front of URM.
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                                                                              11         104. For about five years, Mr. Malow has been an Ambassador at URM.
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                                                                              12   The Ambassador program allows a small group of men to live at URM
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                                                                              13   indefinitely. Since living at URM, he has worked at Home Depot and in URM’s
                                                                              14   janitorial department, known as the EVS team. He knows that diseases such as
                                                                              15   typhus have made a resurgence on Skid Row, and this makes him extremely
                                                                              16   concerned that his work with the EVS team puts him at greater risk of contracting
                                                                              17   a disease.
                                                                              18         105. In the last several years Mr. Malow has seen a big increase in the
                                                                              19   volume of tents and belongings on the streets. This has greatly affected his daily
                                                                              20   life. He has observed a dramatic increase in the rodent problem on Skid Row and
                                                                              21   has seen rats running in and out of tents when he sweeps the sidewalks and
                                                                              22   gutters outside of URM. A major cause of this rodent problem is the volume of
                                                                              23   trash disposed of on the streets—because individuals living on the streets throw
                                                                              24   food and trash in the streets, rats have more than enough food to flourish. There
                                                                              25   has also been a huge increase in the amount of human feces on the street which
                                                                              26   carries with it the significant risk of disease, not to mention the odors.
                                                                              27         106. There is absolutely no room to walk on the sidewalk, so if he leaves
                                                                              28   URM, Mr. Malow is forced to walk in the street. Even in places where he could

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                                                                               1   physically walk between the encampment and the wall, he still must walk on the
                                                                               2   streets or risk violent confrontation from people who accuse him of invading their
                                                                               3   “space.” When he leaves URM, he must plan his route carefully even if traveling
                                                                               4   by public transportation. Due to an increase in crime, including narcotics sales
                                                                               5   and violent activity, he must use a car service to get back from the metro or bus
                                                                               6   station after visiting his mother in Anaheim. He always has the car drop him off
                                                                               7   directly in front of URM to avoid dangerous encounters on the street.
                                                                               8         107. Mr. Malow does not leave URM between the hours of 4 p.m. and 6
                                                                               9   a.m., because he is concerned for his safety on the streets. When he does leave,
                                                                              10   he is incessantly approached and offered illegal drugs for sale. He regularly sees
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                                                                              11   people just outside his home using illegal narcotics in the form of pills or
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                                                                              12   smoking or injecting themselves. He sees people lying motionless in gutters,
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                                                                              13   often without clothes or shoes, and is constantly looking to see if that person is
                                                                              14   dead or merely unconscious from drugs or alcohol. As a person who has
                                                                              15   struggled with drug and alcohol use, it is particularly painful to watch and
                                                                              16   experience.
                                                                              17         108. The excessive build-up of tents and debris over the last few years is
                                                                              18   directly responsible for this significant increase in crime because it allows
                                                                              19   criminals to operate in relative anonymity. This increase in debris, tents, and
                                                                              20   personal items on the streets also makes it impossible for health and safety
                                                                              21   workers to identify public health risks, causing disease and unsafe conditions to
                                                                              22   spread right outside his home. As a formerly homeless individual, Malow knows
                                                                              23   first-hand the difficulties that come from living on the street and is deeply
                                                                              24   troubled by both the City and County’s actions and inaction in the face of the
                                                                              25   homelessness crisis.
                                                                              26         109. KARYN PINSKY works in DTLA and lives there with her husband
                                                                              27   and their young son. She and her husband moved to DTLA in 2010 because they
                                                                              28   were drawn to the architecture, history, and walkability of the area. Unhoused

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                                                                               1   individuals have always been present near their home, but in far fewer numbers.
                                                                               2   In 2010, the only tents west of Skid Row were on Broadway, and they were
                                                                               3   erected every night and removed shortly after sunrise. From 2010 to 2016, Ms.
                                                                               4   Pinsky and her husband, and later her son, were able to enjoy many wonderful
                                                                               5   features of DTLA—they regularly walked their dog along Main Street, and they
                                                                               6   felt comfortable walking to the many wonderful establishments and restaurants
                                                                               7   that were nearby.
                                                                               8         110. All this has changed dramatically over the past several years as the
                                                                               9   homelessness crisis has deepened. Now, due to many recent experiences and the
                                                                              10   crime and concentration levels in Downtown, Ms. Pinsky is fearful that either she
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                                                                              11   or her son will be the subject of some random act of violence. Once, while sitting
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                                                                              12   outside at a café on Spring Street, a homeless woman screamed and became
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                                                                              13   violent towards her because she thought Ms. Pinsky was “judging” her—only
                                                                              14   when her husband and others intervened was the situation defused. On another
                                                                              15   occasion, her husband saw the aftermath of a violent encounter between a
                                                                              16   neighbor and a homeless, mentally ill individual—the individual hit their
                                                                              17   neighbor in the face with a 2x4 that had a nail in it. Earlier this year, a homeless
                                                                              18   man seated outside a café on 6th Street near Broadway, a block from their house,
                                                                              19   randomly pushed a stranger into the street in front of an oncoming bus. The man
                                                                              20   was struck by the bus and ultimately died. Another neighbor on a different floor
                                                                              21   was attacked in the middle of the night by someone who gained access through a
                                                                              22   fire escape window. Now, as a result, she no longer feels safe sleeping with her
                                                                              23   window cracked even a little at night because of its proximity to the fire escape.
                                                                              24         111. Sexual assaults on women also have increased significantly in the
                                                                              25   last several years, and as a result, Ms. Pinsky is terrified of being assaulted while
                                                                              26   running errands or just walking to or from a restaurant. The conditions
                                                                              27   immediately surrounding their home have gotten so dangerous that neither she
                                                                              28   nor her husband will leave the house by foot at all. They drive into the garage

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                                                                               1   and stay in their home; if they need to run errands, they drive. She does not walk
                                                                               2   at all, due to the violent criminals that are using the tents as cover immediately
                                                                               3   outside her building. She once was able to take her son to enjoy the various
                                                                               4   activities Downtown Los Angeles offers, like the library story time, parks such as
                                                                               5   Pershing Square, and museums. Now they avoid those altogether. Family and
                                                                               6   friends are so fearful of the disease and violence in the area that they will no
                                                                               7   longer come to visit Ms. Pinsky. The area was not always like this, but the City’s
                                                                               8   failure to address this crisis in a way that is balanced for both the housed and
                                                                               9   unhoused communities has fundamentally altered the neighborhood and her
                                                                              10   experience of it. Ms. Pinsky has been greatly affected and has a very real interest
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                                                                              11   in remediating this issue insofar as her quality of life and basic enjoyment of her
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                                                                              12   property have been severely diminished. At the same time, she also has
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                                                                              13   compassion and empathy for those on the streets who are subject to the assaults
                                                                              14   (particularly women), the elements, the drug pushers, the gang members, the rats,
                                                                              15   filth, and disease. For Ms. Pinsky, this is no way for a society to treat its most
                                                                              16   helpless members.
                                                                              17         112. HARRY TASHDJIAN owns an upholstery supply business in the
                                                                              18   industrial area of DTLA, and the property surrounding the business location. Mr.
                                                                              19   Tashdjian’s building typically houses millions of dollars’ worth of inventory.
                                                                              20   When he purchased the building in 2013, tents were not allowed on the streets
                                                                              21   during the day. Because his business operates during traditional business hours,
                                                                              22   he believed that the location would not hinder business, which generally has
                                                                              23   between 70 and 100 will-call orders per day through which customers order
                                                                              24   product and then come into the business shop to pick it up.
                                                                              25         113. In mid-2016, Mr. Tashdjian saw an immediate increase in tents on
                                                                              26   the streets and sidewalks outside of his business. Today, tents occupy the
                                                                              27   sidewalks at all hours, and it is difficult for him and his customers to access his
                                                                              28   business due to the piles of property and people loitering on the sidewalk and in

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                                                                               1   the street. Customers constantly tell him how difficult it is to get into the
                                                                               2   building or the adjacent parking lot without hitting people. Mr. Tashdjian has
                                                                               3   been repeatedly told that customers prefer to do business with competitors to
                                                                               4   avoid the hassle and inconvenience of trying to access his store.
                                                                               5         114. Vendors from all over the world—Italy, Germany, United Kingdom,
                                                                               6   China, etc.—visit Mr. Tashdjian’s shop and express shock and dismay that such
                                                                               7   horrendous conditions exist in Los Angeles. His business is now at a much
                                                                               8   greater risk for vandalism, violence, and fire damage. Homeless individuals
                                                                               9   frequently urinate into or onto his building or the adjacent parking lot, and there
                                                                              10   has been an increase in graffiti on his building. The number of tents immediately
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                                                                              11   outside of his building puts his business at risk of fire damage—indeed, the fire
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                                                                              12   department responds at least once a year to a tent fire that has started immediately
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                                                                              13   outside his building. Sometimes it is an innocent accident from an open flame;
                                                                              14   other times, it is intentional due to some drug dealers’ disagreement. His security
                                                                              15   cameras have recorded these acts of arson.
                                                                              16         115. The conditions surrounding his property have cost Mr. Tashdjian a
                                                                              17   great deal of money. Because of the immediate fire danger posed by the tents
                                                                              18   outside his building, he has been forced to upgrade his fire monitoring system
                                                                              19   which cost approximately $40,000. He has also had to spend approximately
                                                                              20   $37,000 on a new security surveillance system to protect the building. The
                                                                              21   LAPD frequently seeks footage caught on this security system during
                                                                              22   investigations. Theft is also a major concern—pallets are constantly stolen from
                                                                              23   their building and car batteries are frequently stolen from inside people’s cars.
                                                                              24         116. There has also been a significant uptick in the population of rats
                                                                              25   surrounding his building, and as a result, rat feces coat all three fences
                                                                              26   surrounding his property. To address the increase in fecal matter on his property,
                                                                              27   as well as the proliferation in cockroaches, he has hired a pest control company
                                                                              28   and had the health department visit the property multiple times. The gate

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                                                                               1   surrounding his property has been repeatedly damaged, costing him thousands of
                                                                               2   dollars in repairs.
                                                                               3          117. Over the last few years, as the City and County have permitted the
                                                                               4   homelessness crisis to grow, the risk to his property from fire damage and
                                                                               5   vandalism has increased exponentially—the business constantly replaces gates
                                                                               6   and other property, cleans the facilities, and sometimes pays security to safeguard
                                                                               7   its property. His business has had to spend over $100,000 in upgrades to their
                                                                               8   system and increased monitoring and pest control just as a result of the increased
                                                                               9   homeless persons and property in the area. Mr. Tashdjian and his employees
                                                                              10   cannot walk anywhere in the area and are constantly subject to risk of disease due
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                                                                              11   to the putrid conditions outside the business.
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                                                                              12          118. The City and the County have offered no assistance to Mr. Tashdjian
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                                                                              13   and have taken no steps to address the impact of the homelessness crisis on his
                                                                              14   business or to enforce the laws that are broken daily in the area around his
                                                                              15   business.
                                                                              16                                    DEFENDANTS
                                                                              17          119. COUNTY OF LOS ANGELES (“County”) is a municipal entity
                                                                              18   existing under the laws of the State of California, with the capacity to sue and be
                                                                              19   sued. The departments of the County include but are not limited to the Los
                                                                              20   Angeles Sheriff’s Department (LASD), the Department of Mental Health
                                                                              21   (DMH), the Department of Public Health (DPH), and the Department of Public
                                                                              22   Social Services (DPSS).
                                                                              23          120. The COUNTY, along with the City of Los Angeles, jointly funds,
                                                                              24   manages, and administers the Los Angeles Homeless Service Authority
                                                                              25   (LAHSA), an independent joint powers authority. According to its website,
                                                                              26   “LAHSA is the lead agency in the Los Angeles Continuum of Care, which is the
                                                                              27   regional planning body that coordinates housing and services for homeless
                                                                              28   families and individuals in Los Angeles County. LAHSA coordinates and

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                                                                               1   manages over $300 million annually in federal, state, county, and city funds for
                                                                               2   programs that provide shelter, housing, and services to people experiencing
                                                                               3   homelessness.”114
                                                                               4         121. Does 1 through 200, inclusive, are persons, entities, government
                                                                               5   bodies, municipal employees, the names and identifies of which are currently
                                                                               6   unknown.
                                                                               7                              V. CAUSES OF ACTION
                                                                               8                             FIRST CAUSE OF ACTION
                                                                               9                             Violation of Mandatory Duty
                                                                              10      Cal. Gov’t Code § 815.6; Welf & Inst. Code §§5600 et seq, 13000 et seq,
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                                                                              11                                    14000 et seq., 17000
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                                                                              12         122. Plaintiffs re-allege and incorporate herein by this reference each and
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                                                                              13   every allegation set forth in paragraphs 1 through 121 of this Complaint as
                                                                              14   though set forth fully herein.
                                                                              15         123. Defendant County of Los Angeles is liable under California
                                                                              16   Government Code section 815.6 and common law negligence theory for violation
                                                                              17   of a statutorily mandated duty to provide mental health and medical care for the
                                                                              18   indigent and those eligible for Medi-Cal.
                                                                              19         124. According to the California Welfare and Institutions Code section
                                                                              20   5600.1, “[t]he mission of California's mental health system shall be to enable
                                                                              21   persons experiencing severe and disabling mental illnesses… to access services
                                                                              22   and programs that assist them, in a manner tailored to each individual, to better
                                                                              23   control their illness, to achieve their personal goals, and to develop skills and
                                                                              24   supports leading to their living the most constructive and satisfying lives
                                                                              25   possible in the least restrictive available settings. Under California Welfare and
                                                                              26   Institutions Code 5600.3, counties have an obligation to use their mental health
                                                                              27
                                                                              28         114
                                                                                            LAHSA, About LAHSA, https://www.lahsa.org/about (last visited June
                                                                                   23, 2022).
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                                                                               1   “to the extent resources are available” to treat “homeless persons who are
                                                                               2   mentally ill.” Cal. Welf. and Inst. Code §§ 5600.3(b)(4)(A). The minimum array
                                                                               3   of services that must be offered to this target population are: (a) precrisis and
                                                                               4   crisis services, (b) assessment, (c) comprehensive evaluation and assessment, (d)
                                                                               5   an individual service plan, (e) medication education and management, (f) case
                                                                               6   management, (g) twenty-four hour treatment services, (h) rehabilitation and
                                                                               7   support services, (i) vocation rehabilitation, and (j) residential services. Welf. and
                                                                               8   Inst. Code § 5600.5. Additionally they should be offered: services for homeless
                                                                               9   persons, and group services Welf. and Inst. Code § 5600.4 (k)-(j). Each of these
                                                                              10   sections provides the caveat that such services must be offered “to the extent
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                                                                              11   resources are available.” But resources are available. As detailed supra, the
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                                                                              12   County has hundreds of millions of dollars sitting in its MHSA fund, a $40
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                                                                              13   billion budget (of which only 0.1 percent funds the department of mental health,
                                                                              14   the minimum necessary to receive state and federal funds), and hundreds of
                                                                              15   millions of dollars in Measure H funds which told voters it would go towards
                                                                              16   “mental health” but fails to do so in any meaningful way. And the County is
                                                                              17   quite literally leaving money on the table by not applying for reimbursable costs
                                                                              18   from the federal government.
                                                                              19         125. Under Welfare and Institutions Code sections 13000 et seq. and
                                                                              20   14000, et seq. Medi-Cal services must be provided by Counties, or cause to be
                                                                              21   provided by counties, for all services that are “medically necessary” which is
                                                                              22   defined as “reasonable and necessary to protect life, to prevent significant illness
                                                                              23   or significant disability, or to alleviate severe pain.” Cal. Welf. & Inst. Code §
                                                                              24   14059.5(a). For Med-Cal members who are under 21 years of age, this includes
                                                                              25   any service “necessary to correct or ameliorate health conditions, including
                                                                              26
                                                                              27
                                                                              28

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                                                                               1   “behavioral health conditions.”115 For members over the age of 21, this means
                                                                               2   provision of specialty mental health services “who have significant impairment or
                                                                               3   reasonable probability of functional deterioration due to a diagnosed or suspected
                                                                               4   mental health disorder.” 116 Counties must “provide or arrange for the provision”
                                                                               5   of, inter alia, evaluation, testing, drug therapy, medication, and psychiatric
                                                                               6   consultations.117 Counties must also provide “psychiatric inpatient hospital
                                                                               7   services and psychiatric health facility services” where the member has a
                                                                               8   “[s]ignificant impairment” defined as “distress, disability, or dysfunction in
                                                                               9   social, occupational, or other important activities” or “a reasonable probability of
                                                                              10   significant deterioration in an important area of life functioning” and a
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                                                                              11   “diagnosed” or “suspected” mental health disorder. 118 Its obligations for
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                                                                              12   members under the age of 21 are even higher.119 Additionally, Counties, as the
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                                                                              13   provider and administrator of Medi-Cal also has the obligation to provide
                                                                              14   substance use treatment, including residential treatment and inpatient services
                                                                              15   “when medically necessary” after evaluation and diagnosis. 120 And Counties
                                                                              16
                                                                              17         115
                                                                                              Memorandum from Dana Durham, Chief of the Managed Care Quality
                                                                                   and Monitoring Division of the State of California-Health and Human Services,
                                                                              18   Department of Health Care Services on Medi-Cal Managed Care Health Plan
                                                                                   Responsibilities for Non-Specialty Mental Health Services to All MediCal
                                                                              19   Managed Care Health Plans (Apr. 8, 2022),
                                                                                   https://www.dhcs.ca.gov/formsandpubs/Documents/MMCDAPLsandPolicyLette
                                                                              20   rs/APL2022/APL22-006.pdf.
                                                                                          116
                                                                                              Id.
                                                                              21          117
                                                                                              Id.
                                                                                          118
                                                                                              Memorandum from Shaina Zurlin, Medi-Cal Behavior Health of the
                                                                              22   State of California Health and Human Services, Department of Health Care
                                                                                   Services on Criteria for beneficiary access to Specialty Mental Health Services
                                                                              23   (SMHS), medical necessity and other coverage requirements to California
                                                                                   Alliance of Child and Family Services, et al. (Dec. 10, 2021),
                                                                              24   https://www.dhcs.ca.gov/Documents/BHIN-21-073-Criteria-for-Beneficiary-to-
                                                                                   Specialty-MHS-Medical-Necessity-and-Other-Coverage-Req.pdf.
                                                                              25          119
                                                                                              Id.
                                                                                          120
                                                                                              Memorandum from Shaina Zurlin, Medi-Cal Behavior Health of the
                                                                              26   State of California Health and Human Services, Department of Health Care
                                                                                   Services on Drug Medi-Cal Organized Delivery System (DMC-ODS)
                                                                              27   Requirements for the Period of 2022 – 2026 to california Alliance of Child and
                                                                                   Family Services, et al. (Dec. 17, 2021),
                                                                              28   https://www.dhcs.ca.gov/Documents/BHIN-21-075-DMC-ODS-Requirements-
                                                                                   for-the-Period-2022-2026.pdf.
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                                                                               1   have an obligation to “undertake outreach efforts to beneficiaries” to maintain
                                                                               2   contact information and ensure continued enrollment. Cal. Welf. & Inst. Code §
                                                                               3   14005.36.
                                                                               4         126. In addition to its obligations as the provider and administrator of
                                                                               5   Medi-Cal, California Welfare and Institutions Code section 17000 provides:
                                                                               6   “Every county and every city and county shall relieve and support all
                                                                               7   incompetent, poor, indigent persons, and those incapacitated by age, disease, or
                                                                               8   accident, lawfully resident therein, when such persons are not supported and
                                                                               9   relieved by their relatives or friends, by their own means, or by state hospitals or
                                                                              10   other state or private institutions.”
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                                                                              11         127. Section 10000 clarifies and defines the purpose of these obligations
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                                                                              12   as follows:
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                                                                              13                 The purpose of this division is to provide for protection,
                                                                                                 care, and assistance to the people of the state in need
                                                                              14                 thereof, and to promote the welfare and happiness of all
                                                                                                 of the people of the state by providing appropriate aid
                                                                              15                 and services to all of its needy and distressed. It is the
                                                                                                 legislative intent that aid shall be administered and
                                                                              16                 services provided promptly and humanely, with due
                                                                                                 regard for the preservation of family life, and without
                                                                              17                 discrimination on account of ancestry, marital status,
                                                                                                 political affiliation, or any characteristic listed or
                                                                              18                 defined in Section 11135 of the Government Code.
                                                                                                 That aid shall be so administered and services so
                                                                              19                 provided, to the extent not in conflict with federal law,
                                                                                                 as to encourage self-respect, self-reliance, and the
                                                                              20                 desire to be a good citizen, useful to society.
                                                                              21   Cal. Welf. & Inst. Code § 10000.
                                                                              22         128. Sections 17000 and 10000 taken together mandate that “medical
                                                                              23   care be provided to indigents . . . promptly and humanely.” Tailfeather v. Board
                                                                              24   of Supervisors, 48 Cal. App. 4th 1223, 1245 (1996). This means counties must
                                                                              25   provide medical care to the poor “at a level which does not lead to unnecessary
                                                                              26   suffering or endanger life and health.” Id. at 1240. The California Supreme
                                                                              27   Court has held that “subsistence medical services” must be provided. Hunt v.
                                                                              28   Superior Court, 21 Cal. 4th 984, 1014 (1999) (“Section 10000 imposes a

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                                                                               1   minimum standard of care—one requiring that subsistence medical services be
                                                                               2   provided promptly and humanely.”) Counties have an obligation to provide
                                                                               3   “‘medically necessary care,’ not just emergency care.” County of Alameda v.
                                                                               4   State Bd. of Control, 14 Cal. App. 4th 1096, 1108 (1993) (citation omitted). That
                                                                               5   includes care “sufficient to avoid substantial pain and infection.” Hunt, 21 Cal.
                                                                               6   4th at 1014. Importantly, a county’s obligation to provide medically necessary
                                                                               7   care must be fulfilled “without regard to its fiscal plight.” Fuchino v. Edwards-
                                                                               8   Buckley, 196 Cal. App. 4th 1128, 1134 (2011) (citation omitted).
                                                                               9         129. Given the facts and circumstances, and significant studies, statistics,
                                                                              10   and reports including those set forth supra, and other such evidence as may be
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                                                                              11   provided, it cannot be doubted that a person’s status as an unsheltered homeless
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                                                                              12   individual both causes and exacerbates physical and mental health problems,
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                                                                              13   ultimately causing much higher rates of infection, disease, decay, pain, and death.
                                                                              14   As Dr. Barbara Ferrer, director of the LA County Department of Public Health,
                                                                              15   admitted: “Homeless people are in fact dying at a higher rate because they’re
                                                                              16   homeless.”121 Recognizing this, the LA County Department of Health Services
                                                                              17   has implemented limited program to provide housing as part of its larger
                                                                              18   healthcare obligation which has been wildly successful. But unfortunately, it has
                                                                              19   not gone far enough to address the homeless crisis, which is ravaging the city and
                                                                              20   county, such that over 48,000 persons remain unsheltered in the County as of
                                                                              21   January 2019.
                                                                              22         130. Basic shelter is “medically necessary” insofar as it is “reasonable
                                                                              23   and necessary to protect life, to prevent significant illness or significant
                                                                              24   disability, or to alleviate severe pain” and the County’s failure to provide the
                                                                              25   same to its homeless population constitutes a breach of its duty under California
                                                                              26   Welfare & Institution Code sections 17000 and 10000. Plaintiffs allege that
                                                                              27
                                                                              28         121
                                                                                              Flores, supra note 82,
                                                                                   https://la.curbed.com/2019/10/30/20940369/homeless-deaths-los-angeles-county.
                                                                                                                         72
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                                                                               1   provision of shelter, in and of itself, would alleviate significant physical and
                                                                               2   mental health issues and prevent existing or pre-existing physical and mental
                                                                               3   health issues from worsening. In other words, the beds themselves are medically
                                                                               4   necessary.
                                                                               5         131. Mental Health and Substance Use Disorder Treatment is further
                                                                               6   “medically necessary” and the failure to provide such treatment, particularly
                                                                               7   residentially treatment for those for whom shelter is not practically available to
                                                                               8   them because of their serious mental health or substance use disorder, in any
                                                                               9   reasonably accessible manner is a violation of the County’s obligation under the
                                                                              10   Welfare & Institution Code.
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11         132. Defendant County is undoubtedly failing to provide the necessary
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                                                                              12   mental health and substance use treatment, both outpatient and inpatient.
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                                                                              13   Plaintiffs, and each of them, have been damaged by the County’s failure to
                                                                              14   provide shelter and treatment, as described in detail supra.
                                                                              15                            SECOND CAUSE OF ACTION
                                                                              16                             Nuisance (Public and Private)
                                                                              17         133. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              18   every allegation set forth in paragraphs 1 through 132 of this Complaint as
                                                                              19   though set forth fully herein.
                                                                              20         134. California has defined nuisance as
                                                                              21                [a]nything which is injurious to health, including, but
                                                                                                not limited to, the illegal sale of controlled substances,
                                                                              22                or is indecent or offensive to the senses, or an
                                                                                                obstruction to the free use of property, so as to interfere
                                                                              23                with the comfortable enjoyment of life or property, or
                                                                                                unlawfully obstructs the free passage or use, in the
                                                                              24                customary manner, of any navigable lake, or river, bay,
                                                                                                stream, canal, or basin, or any public park, square,
                                                                              25                street, or highway, is a nuisance.
                                                                              26   Cal. Civ. Code § 3479.
                                                                              27         135. As described above, the County, by its failure to provide the housing
                                                                              28   and services necessary to assist people experiencing homelessness, including

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                                                                               1   plaintiffs named herein, is perpetuating and facilitating nuisance violations. The
                                                                               2   Plaintiff and Alliance members own, lease, occupy, or otherwise control all or a
                                                                               3   portion of the home or business identified. By Defendant County’s actions and
                                                                               4   inactions, it has created a condition or permitted a condition to exist that is
                                                                               5   harmful to the health, indecent and offensive to the senses, obstructs the free
                                                                               6   passage and use of public parks, squares, streets, highway, and sidewalks, permits
                                                                               7   unlawful sales of illicit narcotics, and constitutes a fire hazard, as described
                                                                               8   supra.
                                                                               9            136. All Plaintiffs who own or rent property have experienced a
                                                                              10   substantial and unreasonable interference with the enjoyment of their property,
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                                                                              11   whether that be a building owned or room rented; each have suffered and
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                                                                              12   continue to be threatened with respect to their health and welfare, by reason of
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                                                                              13   the constant threat of disease and the experience of human waste, trash, and
                                                                              14   encampments outside their property.
                                                                              15            137. Defendant’s conduct has been and is intentional and unreasonable,
                                                                              16   unintentional but negligent or reckless, and/or the condition permitted to exist
                                                                              17   was the result of abnormally dangerous activity which substantially interfered
                                                                              18   with each individual’s use or enjoyment of his or her land that an ordinary person
                                                                              19   would reasonably be annoyed or disturbed by. No plaintiff or Alliance member
                                                                              20   consented to Defendants’ conduct; each was harmed, Defendants’ conduct was a
                                                                              21   substantial factor in causing the harm, and the seriousness of the harm outweighs
                                                                              22   any public benefit of such conduct (which is none). Each plaintiff and Alliance
                                                                              23   member has been damaged in his or her own right, in a manner specially
                                                                              24   injurious to him or herself.
                                                                              25            138. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              26   equitable and injunctive relief only. As such the County is not entitled to any
                                                                              27   claims of immunity pursuant to California Government Code section 814.
                                                                              28

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                                                                               1                             THIRD CAUSE OF ACTION
                                                                               2                     Inverse Condemnation/Cal. Const. art. I § 19
                                                                               3                   (Plaintiffs Alliance, Burk, Tashdjian, and Frem)
                                                                               4         139. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                               5   every allegation set forth in paragraphs 1 through 138 of this Complaint as
                                                                               6   though set forth fully herein.
                                                                               7         140. California Constitution, article I § 19 provides in relevant part:
                                                                               8   “Private property may be taken or damaged for a public use and only when just
                                                                               9   compensation, ascertained by a jury unless waived, has first been paid to, or into
                                                                              10   court for, the owner.” The actions by the County in failing to treat those with
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                                                                              11   mental illness and substance use disorder, and/or provide the necessary social
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                                                                              12   services as required by law, have limited, damaged, and/or burdened the owners’
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                                                                              13   property and/or business so substantially they rise to the level of a regulatory
                                                                              14   taking, yet no compensation has been provided.
                                                                              15         141. Plaintiffs seek compensation according to each of their separate
                                                                              16   damages, in addition to injunctive relief and any other relief accorded to
                                                                              17   Plaintiffs as appropriate in this case.
                                                                              18                            FOURTH CAUSE OF ACTION
                                                                              19                         Waste of Public Funds and Resources
                                                                              20                               Cal. Civ. Proc. Code § 526a
                                                                              21         142. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              22   every allegation set forth in paragraphs 1 through 141 of this Complaint as
                                                                              23   though set forth fully herein.
                                                                              24         143. California Code of Civil Procedure section 526a permits private
                                                                              25   individuals or entities to bring an action to “obtain a judgment, restraining and
                                                                              26   preventing any illegal expenditure of, waste of, or injury to, the estate, funds, or
                                                                              27   other property of a local agency.”
                                                                              28

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                                                                               1         144.    Plaintiffs and Alliance members, each of them, are residents of the
                                                                               2   County of Los Angeles and/or own property and/or businesses therein and pay
                                                                               3   income tax, sales tax, property tax, and/or business license taxes and therefore
                                                                               4   having standing to bring an action under section 526a. Payment of these taxes
                                                                               5   have been significant, and a hardship, but Plaintiffs continue to do so. In
                                                                               6   particular payment of Measure H’s quarter-cent sales tax has impacted business
                                                                               7   and quality of life, but Plaintiffs continue to do so.
                                                                               8         145. As described more fully supra, taxpayer funds have been misused
                                                                               9   and wasted by the County of Los Angeles, such they are incapable of achieving
                                                                              10   the ostensible goal of addressing the homelessness crisis in any significant way,
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                                                                              11   much less “ending” it. Such expenditures, particularly when taken in the
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                                                                              12   aggregate, cost several factors more than alternative available measures which
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                                                                              13   are demonstrably effective in addressing the crisis.
                                                                              14         146. Measure H was promoted as complimentary to the City’s
                                                                              15   Proposition HHH, and passed by the electorate to address the homelessness crisis
                                                                              16   to provide mostly services in a comprehensive and effective way. Instead, the
                                                                              17   County uses its dollars mostly to fund housing, and the promised services are
                                                                              18   nowhere to be found. And homelessness has steadily increased in the County.
                                                                              19         147. Hundreds of millions of dollars sits unused in the County’s MHSA
                                                                              20   account while the mentally ill—for whom the special tax was created—go
                                                                              21   untreated on the street. The County Mental health department is unsupported and
                                                                              22   underfunded by the County, and the County’s MH-MAA reimbursement rates
                                                                              23   remains far too low. As further detailed supra, the County has spent enormous
                                                                              24   amounts of public funds on the homelessness crisis in ways that have had little or
                                                                              25   no effect on the crisis, and thereby wasted those public funds.
                                                                              26         148. Plaintiffs seek no damages hereunder and submit this claim for
                                                                              27   equitable and injunctive relief only. As such the County is not entitled to any
                                                                              28   claims of immunity pursuant to California Government Code section 814.

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                                                                               1                             FIFTH CAUSE OF ACTION
                                                                               2                  Violation of Statutorily-Created Liberty Interest
                                                                               3                     42 U.S.C. § 1983; U.S. Const. amend. V/XIV
                                                                               4         149. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                               5   every allegation set forth in paragraphs 1 through 148 of this Complaint as
                                                                               6   though set forth fully herein.
                                                                               7         150. As described in detail supra, the County has numerous statutory
                                                                               8   obligations which require it to provide health, mental health, and substance use
                                                                               9   disorder services and treatment, including inpatient, residential, and outpatient
                                                                              10   treatment, and shelter where medically necessary.
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                                                                              11         151. Through these statutes, the State of California has created a liberty
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                                                                              12   interest in adequate and available substance use disorder treatment, mental health
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                                                                              13   treatment and shelter. These statutes set forth substantive predicates to govern
                                                                              14   official decision-making and contain explicitly mandatory language, are
                                                                              15   mandatory, and place substantive limitations on official discretion.
                                                                              16         152. Moreover, the County has intentionally and explicitly accepted
                                                                              17   responsibility for providing services and treatment to persons experiencing
                                                                              18   homelessness and has created specific taxes and holds specific accounts for such
                                                                              19   a person as detailed supra.
                                                                              20         153. The County of Los Angeles, by depriving Plaintiffs of their liberty
                                                                              21   interest in mandatory care contemplated under the aforementioned statutes and by
                                                                              22   failing to offer or provide a reasonable means by which persons experiencing
                                                                              23   homelessness in need of such care may seek or receive it, has violated the Due
                                                                              24   Process clause of the United States Constitution.
                                                                              25         154. Plaintiffs are informed, believe and allege that, at all times herein
                                                                              26   mentioned, Defendant County of Los Angeles and its respective agents, with
                                                                              27   deliberate indifference, and conscious and reckless disregard to the safety,
                                                                              28   security, and constitutional and statutory rights of Plaintiffs, engaged in the

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                                                                               1   unconstitutional conduct and omissions set forth above, all pursuant to policy,
                                                                               2   procedure, or customs held by the County of Los Angeles.
                                                                               3         155. The actions and inactions of the County of Los Angeles were known
                                                                               4   or should have been known to the policy makers responsible for that agency and
                                                                               5   occurred with deliberate indifference to the constitutional violations set forth
                                                                               6   above, and/or to the strong likelihood that constitutional rights would be violated
                                                                               7   as a result of its customs and/or policies.
                                                                               8         156. Plaintiffs seek an award of compensatory damages, injunctive relief,
                                                                               9   and the cost of attorneys’ fees in bringing this action.
                                                                              10                             SIXTH CAUSE OF ACTION
                           TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                              11         Violation of Due Process Clause (State-Created Danger Doctrines)
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                                                                              12                       42 U.S.C. § 1983; U.S. Const. Amend. 14
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                                                                              13         157. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              14   every allegation set forth in paragraphs 1 through 156 of this Complaint as
                                                                              15   though set forth fully herein.
                                                                              16         158. By the acts and omissions described above, Defendant has
                                                                              17   affirmatively created and/or increased the risk that Plaintiffs would be exposed to
                                                                              18   dangerous conditions, which placed Plaintiffs specifically at risk, and Plaintiffs
                                                                              19   were harmed as a result. The County created and/or contributed to the danger to
                                                                              20   them and others like them by adopting and maintaining various policies and laws,
                                                                              21   including but not limited to concentrating services in known dangerous areas,
                                                                              22   coalescing in a strategy to contain homeless people in Skid Row which
                                                                              23   specifically endangered Plaintiffs and were deliberately indifferent thereto. The
                                                                              24   County created a further danger by focusing nearly exclusively on so-called
                                                                              25   permanent housing options without balancing interim and emergency needs,
                                                                              26   which could not ever meet the ostensible goal, and caused more people to remain
                                                                              27   unsheltered, exacerbating or causing significant mental and physical decline at
                                                                              28   such a rate that outpaces the building and provision of such units.

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                                                                               1         159. Defendant knew or should have known that its acts or omissions
                                                                               2   specifically endangered Plaintiffs and were deliberately indifferent thereto.
                                                                               3         160. Plaintiffs are informed, believe and allege that, at all times herein
                                                                               4   mentioned, Defendant County of Los Angeles and its respective agents, with
                                                                               5   deliberate indifference, and conscious and reckless disregard to the safety,
                                                                               6   security, and constitutional and statutory rights of Plaintiffs, engaged in the
                                                                               7   unconstitutional conduct and omissions set forth above, all pursuant to policy,
                                                                               8   procedure, or customs held by the County of Los Angeles.
                                                                               9         161. The actions and inactions of the County of Los Angeles were known
                                                                              10   or should have been known to the policy makers responsible for that agency and
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                                                                              11   occurred with deliberate indifference to the constitutional violations set forth
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                                                                              12   above, and/or to the strong likelihood that constitutional rights would be violated
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                                                                              13   as a result of its customs and/or policies.
                                                                              14         162. Plaintiffs seek an award of compensatory damages, injunctive relief,
                                                                              15   and the cost of attorneys’ fees in bringing this action.
                                                                              16                           SEVENTH CAUSE OF ACTION
                                                                              17                                Uncompensated Taking
                                                                              18                      U.S.C. § 1983; U.S. Const. Amend. V/XIV
                                                                              19                   (Plaintiffs Alliance, Burk, Tashdjian, and Frem)
                                                                              20         163. Plaintiffs re-allege and incorporate herein by this reference each and
                                                                              21   every allegation set forth in paragraphs 1 through 161 of this Complaint as
                                                                              22   though set forth fully herein.
                                                                              23         164. The Fifth Amendment mandates, in relevant part, that “private
                                                                              24   property [shall not] be taken for public use, without just compensation.” U.S.
                                                                              25   Const. amend. V. The Fifth Amendment is applied to the states through the
                                                                              26   Fourteenth Amendment. Chicago, Burlington, & Quincy R.R. Co. v. City of
                                                                              27   Chicago, 166 U.S. 226 (1897). The actions by the County, as described in detail
                                                                              28   supra, have limited, damaged, and/or burdened the property owners’ so

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                                                                               1   substantially they rise to the level of a regulatory taking, yet no compensation has
                                                                               2   been provided.
                                                                               3         165. Upon information and belief, this was done with deliberate intent
                                                                               4   and/or reckless disregard of Plaintiffs’ rights. Plaintiffs seek an award of
                                                                               5   compensatory damages, injunctive relief, and the cost of attorneys’ fees in
                                                                               6   bringing this action.
                                                                               7         166. Plaintiffs are informed, believe and allege that, at all times herein
                                                                               8   mentioned, Defendant County of Los Angeles and its respective agents, with
                                                                               9   deliberate indifference, and conscious and reckless disregard to the safety,
                                                                              10   security, and constitutional and statutory rights of Plaintiffs, engaged in the
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                                                                              11   unconstitutional conduct and omissions set forth above, all pursuant to policy,
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                                                                              12   procedure, or customs held by the County of Los Angeles.
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                                                                              13         167. The actions and inactions of the County of Los Angeles were known
                                                                              14   or should have been known to the policy makers responsible for that agency and
                                                                              15   occurred with deliberate indifference to the constitutional violations set forth
                                                                              16   above, and/or to the strong likelihood that constitutional rights would be violated
                                                                              17   as a result of its customs and/or policies.
                                                                              18         168. Plaintiffs seek an award of compensatory damages, injunctive relief,
                                                                              19   and the cost of attorneys’ fees in bringing this action.
                                                                              20                             VI. PRAYER FOR RELIEF
                                                                              21         Plaintiffs pray for judgment against Defendant as follows:
                                                                              22         1.     Injunctive/equitable relief in a manner to be determined by law;
                                                                              23         2.     As to the federal claims and claims under the California constitution
                                                                              24   only, compensatory damages and other special, general and consequential
                                                                              25   damages according to proof;
                                                                              26         3.     An award of costs of suit, including attorneys’ fees; and
                                                                              27         4.     Such other and further relief as this Court deems just and proper.
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                                                                               1                      VII. DEMAND FOR JURY TRIAL
                                                                               2        Plaintiffs hereby demand a jury trial.
                                                                               3   Dated: July 15, 2022                /s/ Elizabeth A. Mitchell
                                                                                                                       SPERTUS, LANDES & UMHOFER, LLP
                                                                               4                                       Matthew Donald Umhofer (SBN 206607)
                                                                                                                       Elizabeth A. Mitchell (SBN 251139)
                                                                               5                                       Attorneys for Plaintiffs
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